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                      EXHIBIT A
                    Agency Agreement
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                                                  AGENCY AGREEMENT

               This Agency Agreement (“Agreement”) is made as of April 18, 2018, by and between
         The Bon-Ton Stores, Inc. and its associated chapter 11 debtors in possession (collectively,
         “Merchant”),1 on the one hand, and (a) a contractual joint venture comprised of GA Retail, Inc.
         (“GA”) and Tiger Capital Group, LLC (“Tiger” and collectively with GA, the “Agent”) and (b)
         Wilmington Savings Fund Society, FSB, as the indenture agent and collateral trustee for the
         8.00% second-lien senior secured notes due 2021 (the “Second-Lien Notes”) issued by BTDS,
         on the other hand (in such capacities, the “Notes Trustee” and collectively with Agent,
         “Purchaser”). Purchaser and Merchant are collectively the “Parties.”

         Section 1. Recitals

                WHEREAS, on February 4, 2018, the entities comprising Merchant commenced ten
         voluntary chapter 11 bankruptcy cases (the “Bankruptcy Cases”) in the United States Bankruptcy
         Court for the District of Delaware (the “Bankruptcy Court”).

                 WHEREAS, pursuant to an order of the Bankruptcy Court entered on February 6, 2018
         [D.I. 105], the Bankruptcy Cases are being jointly administered under the caption In re The Bon-
         Ton Stores, Inc., et al., Lead Case No. 18-10248-MFW (Bankr. D. Del.).

                 WHEREAS, on March 12, 2018, the Bankruptcy Court entered an order (the “Bidding
         Procedures Order”) [D.I. 348] that, among other relief, approved bidding procedures (the “Bidding
         Procedures”) for and scheduled a hearing (the “Sale Approval Hearing”) on the approval of the
         sale of all or substantially of Merchant’s assets.

                WHEREAS, on March 12, 2018, the Bankruptcy Court entered an order (the “Final DIP
         Order”) [D.I. 352] authorizing Merchant to obtain postpetition secured debtor-in-possession
         financing on a final basis.

                WHEREAS, an ad hoc group of holders of $251,325,000 in principal amount of the
         Second-Lien Notes (the “Second Lien Noteholders”) has issued a direction to the Notes Trustee
         to credit bid (the “Credit Bid”) $125,000,000 of its claims under the indenture governing the
         Second-Lien Notes (the “Notes Claims”) as consideration under this Agreement and the Notes
         Trustee has made the Credit Bid.

                WHEREAS, Merchant operates retail stores and desires that the Agent act as Merchant’s
         exclusive agent for the purposes of:

                    (a)     selling all of the Merchandise (as hereinafter defined) from Merchant’s retail store
                            locations identified on Exhibit 1(a)(1) attached hereto (each a “Store” and
                            collectively the “Stores”) and distribution centers (including e-commerce

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                Merchant consists of The Bon-Ton Stores, Inc.; The Bon-Ton Department Stores, Inc. (“BTDS”); The Bon-Ton
                Giftco, LLC; Carson Pirie Scott II, Inc.; Bon-Ton Distribution, LLC; McRIL, LLC; Bonstores Holdings One,
                LLC; Bonstores Realty One, LLC; Bonstores Holdings Two, LLC; and Bonstores Realty Two, LLC.


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                            facilities) identified on Exhibit 1(a)(2) attached hereto (each a “Distribution
                            Center” and collectively, the “Distribution Centers”) by means of a “going out of
                            business,” “store closing,” “sale on everything,” “everything must go,” or similar
                            sale as described further below (the “GOB Sale”), with the nature and manner of
                            advertising the GOB Sale being in Agent’s sole discretion, subject to the terms
                            and conditions of this Agreement and the Sale Guidelines and Approval Order
                            (each as defined below);

                 (b)        marketing and selling, or otherwise designating the purchasers of, the furniture,
                            furnishings, trade fixtures, machinery, equipment, office supplies, Supplies (as
                            defined below), conveyor systems, racking, rolling stock, and other tangible
                            personal property (collectively, “FF&E”) owned by Merchant, wherever located
                            (“Owned FF&E”);

                 (c)        designating the assignees of any or all of Merchant’s unexpired leases of non-
                            residential real property (together with all amendments, extensions, modifications,
                            and other material documents related thereto, each a “Lease” and all such Leases
                            collectively, the “Leases”) and executory contracts (together with all
                            amendments, extensions, modifications, and other material documents related
                            thereto, each a “Contract” and all such Contracts collectively, the “Contracts”), in
                            each case excluding any Leases or Contracts that may be rejected as permitted
                            and in accordance with the procedures under the Approval Order (defined below)
                            and subject to the assumption and assignment procedures to be incorporated into
                            the Approval Order;

                 (d)        marketing and selling, and/or otherwise designating the purchasers and/or
                            assignees of any or all real property owned by Merchant (the “Owned Real
                            Estate”), including but not limited to the real property identified on Exhibit 1(d)
                            annexed hereto;

                 (e)        marketing and selling, and/or otherwise designating the purchasers, assignees,
                            and/or licensees of any or all intellectual property owned by Merchant (the
                            “Intellectual Property”), including but not limited to the intellectual property
                            identified on Exhibit 1(e) annexed hereto, provided that, the disposition of any
                            Intellectual Property that would result in the sale or lease of personally
                            identifiable information (as such term is defined in section 101(41A) of the
                            Bankruptcy Code) shall be subject to a determination made by a consumer
                            privacy ombudsman appointed in Merchant’s chapter 11 cases; and

                 (f)        marketing and selling, and/or otherwise designating the purchasers, licensees,
                            and/or assignees of any or all of Merchant’s other real and tangible and intangible
                            personal property (the “Other Assets” and, collectively with the Merchandise, the
                            Owned FF&E, all Leases, all Contracts, the Owned Real Estate, and the
                            Intellectual Property, the “Assets”). For the avoidance of doubt, the Other Assets
                            include but are not limited to all cash on hand and in the Debtors’ retail store
                            locations, cash in transit, cash in bank accounts, Merchant’s interest in and rights
                            with respect to cash posted as collateral for letters of credit, receivables (including
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                            credit card receivables), deposits, security deposits, credit card processing float,
                            proceeds of retail sales in all of the Debtors’ retail store locations from and after
                            the date of this Agreement to the extent not used to pay down the DIP Obligations
                            (as defined in the Final DIP Order), claims and causes of action arising under
                            chapter 5 of the Bankruptcy Code and similar state law (“Avoidance Actions”),
                            and all other claims and causes of action, including but not limited to commercial
                            tort claims, based on facts and circumstances existing as of the Closing, whether
                            or not theretofore discovered or asserted (“Other Causes of Action”).
                            Notwithstanding the foregoing, the Assets shall not include (a) the Consulting
                            Agreement by and between Merchant and a joint venture comprised of Hilco
                            Merchant Resources, LLC and Gordon Brothers Retail Partners, LLC (the “Phase
                            1 Consultant”), dated January 29, 2018 (the “Phase 1 Liquidation Agreement”),
                            which shall not be subject to the Lease/Contract Designation Rights (as defined
                            below) or otherwise assumed by Purchaser or (b) the proceeds from the sale of
                            Additional Agent Goods (as defined in the Phase 1 Liquidation Agreement)
                            pursuant to the Phase 1 Liquidation Agreement, other than the “Additional Agent
                            Goods Fee” due to Merchant under the Phase 1 Liquidation Agreement.
                            Merchant shall not reject or amend the Phase 1 Liquidation Agreement without
                            the express written consent of Purchaser. For the avoidance of doubt, all Net
                            Proceeds, less the Consulting Fee, plus the Additional Agent Goods Fee (each as
                            defined in the Phase 1 Liquidation Agreement) shall constitute Assets under this
                            Agreement and shall be remitted to Purchaser pursuant to the terms hereof.

                WHEREAS, the Official Committee of Unsecured Creditors appointed in the Bankruptcy
         Cases (the “Committee”) filed an adversary proceeding (the “Adversary Proceeding”) on March
         29, 2018 seeking, among other relief, to avoid certain liens securing the Notes Claims.

                NOW, THEREFORE, in consideration of the Purchase Price (defined below) and the
         mutual covenants and agreements set forth in this Agreement, the Parties hereby agree as
         follows:

         Section 2. Appointment of Agent/Approval Order. Consistent with the Bidding Procedures
         and as soon as practicable after full execution of this Agreement, Merchant shall file in the
         Bankruptcy Cases a proposed form of order (the “Approval Order”) in a form reasonably
         satisfactory to Merchant and Purchaser. At the Sale Approval Hearing, Merchant shall seek
         entry of the Approval Order as the “Sale Order,” as that term is used in the Bidding Procedures
         Order. The Approval Order shall, among other things:

                 (a)        find that:

                            (i)          this Agreement is in the best interest of Merchant, its estate and
                                         creditors, and other parties in interest

                            (ii)         the Parties entered into this Agreement in good faith pursuant to
                                         Section 363(m) of the Bankruptcy Code and without collusion as
                                         described in Section 363(n) of the Bankruptcy Code;

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                            (iii)      time is of the essence in effectuating this Agreement and proceeding
                                       with the GOB Sale at the Stores uninterrupted;

                            (iv)       Merchant’s decisions to (a) enter into this Agreement and (b) perform
                                       its obligations under this Agreement are a reasonable exercise of
                                       Merchant’s sound business judgment consistent with its fiduciary
                                       duties and is in the best interests of Merchant, its estate, its creditors,
                                       and other parties in interest; and

                            (v)        this Agreement was negotiated in good faith and at arms’ length and
                                       Purchaser is entitled to the protection of section 363(m) and 364(e) of
                                       the Bankruptcy Code; and

                 (b)        order, adjudge, and decree that:

                            (i)        this Agreement and all of the transactions contemplated hereby are
                                       approved in their entirety;

                            (ii)       the Parties are authorized to continue to take any and all actions as
                                       may be necessary or desirable to implement this Agreement and each
                                       of the transactions contemplated hereby;

                            (iii)      following the occurrence of the closing under this Agreement, which
                                       shall occur no later than April 19, 2018 (the “Closing”), subject to
                                       payment of the Cash Purchase Price (as defined below) and
                                       Purchaser’s compliance with its other obligations hereunder, Agent
                                       shall have the exclusive right to market and sell, and/or otherwise
                                       designate the purchasers, licensees, and/or assignees of, any or all of
                                       the Assets free and clear of all liens, claims, and encumbrances thereon
                                       without further order of the Bankruptcy Court;

                            (iv)       the sale, license, transfer, or other conveyance of any Assets (other
                                       than the Assets being sold pursuant to the GOB Sale, as to which no
                                       further notice shall be required) reflected in notices filed in the
                                       Bankruptcy Cases from time to time by the Agent, substantially in the
                                       form annexed hereto as Exhibit 2(b)(iv) (each an “Asset Designation
                                       Notice”), shall be automatically effective on the date reflected in the
                                       applicable Asset Designation Notice and subject to the satisfaction of
                                       any closing conditions reflected therein, and the sale or other
                                       conveyance of such Assets shall be free and clear of all liens, claims,
                                       and encumbrances without further order of the Bankruptcy Court,
                                       provided, however, that nothing in the Approval Order shall inhibit the
                                       ability of Agent to seek other or further orders of the Court in
                                       connection with the sale or other disposition of any Assets;

                            (v)        the form of Asset Designation Notice is approved;


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                            (vi)     subject to Agent’s compliance with its payment obligations under this
                                     Agreement and the Approval Order, Agent is authorized to execute, in
                                     the name of and as agent for Merchant, any and all deeds, bills of sale,
                                     and other instruments or documents necessary to effectuate the sale,
                                     transfer, or other conveyance of any of the Assets;

                            (vii)    following the payment of the Cash Purchase Price but subject to
                                     Agent’s obligation to pay Expenses and fund the Wind-Down Payment
                                     pursuant to the Wind-Down Budget (as defined below), all proceeds
                                     (cash or otherwise) of any of the Assets except as otherwise set forth
                                     in this Agreement (“Proceeds”), including but not limited to all
                                     Proceeds arising from the sale, lease, licensing, assignment, or other
                                     disposition of any of the Assets, shall be the sole property of
                                     Purchaser, and Purchaser shall be entitled to retain all Proceeds for its
                                     own account, subject to further distribution among the entities
                                     comprising Purchaser pursuant to any agreements between the entities
                                     comprising Purchaser and the Second Lien Noteholders;

                            (viii)   the Wind-Down / Expense Advance shall be deemed held in escrow
                                     for the exclusive purpose of paying (1) Expenses (as defined below)
                                     and (2) administrative expenses and other amounts pursuant to and
                                     solely as reflected in the Wind-Down Budget (provided that such
                                     payments may be made from the Wind-Down / Expense Advance as
                                     and when due without further order of the Court or action by any
                                     Party), and shall not be used for any other purpose without the express
                                     written consent of Agent in its sole discretion;

                            (ix)     following the occurrence of the Closing, subject to Agent’s obligation
                                     to pay Expenses and fund the Wind-Down Payment, Merchant and any
                                     trustee appointed in the Bankruptcy Cases or any successor cases
                                     thereto shall hold the Assets (other than the Assets being sold through
                                     the GOB Sale and the Wind-Down / Expense Advance) strictly in trust
                                     for the benefit of Purchaser and, as such, the Assets shall not constitute
                                     property of Merchant’s bankruptcy estate pursuant to and consistent
                                     with 11 U.S.C. § 541(b)(1) at any time following the Closing;

                            (x)      following the payment of the Cash Purchase Price but subject to
                                     Agent’s obligation to pay Expenses and fund the Wind-Down
                                     Payment, any Proceeds received by, or otherwise in the possession of,
                                     Merchant at any time shall be segregated and held strictly in trust for
                                     the benefit of Purchaser, shall not be commingled with Merchant’s
                                     own assets, and, as such, shall not become property of Merchant’s
                                     bankruptcy estate pursuant to and consistent with 11 U.S.C.
                                     §541(b)(1), and shall be paid over to Purchaser immediately;

                            (xi)     upon the payment of the Cash Purchase Price, and solely to the extent
                                     that any Assets or Proceeds are, notwithstanding the Approval Order,
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                                     subsequently determined to constitute property of Merchant’s estate,
                                     but subject to Agent’s obligation to pay Expenses and fund the Wind-
                                     Down Payment, Purchaser shall have a senior lien on such Assets and
                                     all Proceeds thereof, which lien is deemed automatically perfected,
                                     provided that nothing in the Approval Order shall inhibit Purchaser’s
                                     ability, and the Approval Order shall expressly authorize Purchaser, to
                                     take any action Purchaser deems appropriate to perfect and enforce
                                     such lien;

                            (xii)    upon the payment of the Cash Purchase Price and subject to Agent’s
                                     obligation to pay Expenses and fund the Wind-Down Payment, until
                                     all Assets have been sold or otherwise disposed of, and solely to the
                                     extent that any Assets or Proceeds are, notwithstanding the Approval
                                     Order, subsequently determined to constitute property of Merchant’s
                                     estate, Purchaser shall have a superpriority administrative expense
                                     claim against Merchant to the extent of any amounts owing from
                                     Merchant to Purchaser in connection with this Agreement, including as
                                     a result of any breach of this Agreement and/or as a result of any
                                     Proceeds being in Merchant’s possession;

                            (xiii)   the Lease/Contract Designation Rights are approved, and Purchaser is
                                     authorized to designate the assignees of any or all of the Contracts and
                                     Leases pursuant thereto;

                            (xiv)    at any time (i) with respect to any unexpired real estate Lease under
                                     which Merchant is lessee, prior to the earlier to occur of (1) September
                                     2, 2018 and (2) expiration of such Lease by its terms or the rejection
                                     thereof, and (ii) with respect to all other Contracts and Leases, prior to
                                     the earlier to occur of (1) December 31, 2018, and (2) rejection thereof
                                     (the shortest of the foregoing periods applicable to a particular
                                     Contract or Lease is the “Designation Rights Period” applicable to that
                                     Contract or Lease), Purchaser shall have the exclusive right, which
                                     right may be exercised at any time and from time to time, to file a
                                     notice in the Bankruptcy Cases (each such notice, a “Lease/Contract
                                     Assumption Notice”) substantially in the form annexed hereto as
                                     Exhibit 2(b)(xiii) designating the assignee of any one or more Leases
                                     and/or Contracts and setting forth the proposed cure amount due
                                     pursuant to section 365 of the Bankruptcy Code (each a “Cure
                                     Amount”);

                            (xv)     the counterparties to the Leases or Contracts identified in any
                                     Lease/Contract Assumption Notice shall have twenty-one days to
                                     object to the proposed assumption and assignment;

                            (xvi)    if no objection to the proposed assumption and assignment of a Lease
                                     or Contract is timely received, such Lease or Contract shall, upon
                                     payment of the applicable cure payment, if any, to the applicable
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                                      counterparty, automatically be deemed assigned to and assumed by the
                                      assignee identified in the Lease/Contract Assumption Notice pursuant
                                      to section 365 of the Bankruptcy Code, without further order of the
                                      Bankruptcy Court or further action by any person or entity;

                            (xvii)    if an objection to the proposed assumption and assignment of a Lease
                                      or Contract is timely received, such Lease or Contract shall not be
                                      assumed or assigned until such objection is resolved by agreement of
                                      the applicable counterparty or order of the Bankruptcy Court;

                            (xviii)   the designee under any Lease/Contract Assumption Notice shall be
                                      required, if requested by the applicable counterparty, to provide
                                      adequate assurance of future performance with respect to such Lease
                                      or Contract if the applicable counterparty so requests;

                            (xix)     pursuant to section 365(k) of the Bankruptcy Code, neither Merchant
                                      nor any other Party shall have any further obligation under any Lease
                                      or Contract after assumption and assignment thereof pursuant to the
                                      Lease/Contract Designation Rights;

                            (xx)      in addition to the Lease/Contract Designation Rights, Purchaser shall
                                      have the right, upon written notice to Merchant and as reflected in
                                      notices filed in the Bankruptcy Cases from time to time, direct
                                      Merchant to reject any Lease or Contract as specified by Purchaser;

                            (xxi)     at the Closing, all funds held in escrow by Wilmington Trust, National
                                      Association (“WT”) pursuant to that certain Escrow Agreement dated
                                      as of March 5, 2018 by and among the members of Agent, the Second
                                      Lien Noteholders, and WT shall be released at the Closing for
                                      application to the Cash Purchase Price;

                            (xxii)    Agent shall have the exclusive right to use the Stores and all other
                                      Assets for the purpose of conducting the GOB Sale, free of any
                                      interference from any entity or person, subject to compliance with the
                                      Sale Guidelines (as defined below) and Approval Order;

                            (xxiii)   Agent, as the exclusive agent for Merchant, is authorized to conduct,
                                      advertise, post signs, utilize sign-walkers, and otherwise promote the
                                      GOB Sale as a “going out of business”, “store closing”, “sale on
                                      everything”, “everything must go”, or similar themed sale, in
                                      accordance with the Sale Guidelines (as the same may be modified and
                                      approved by the Bankruptcy Court), subject to compliance with the
                                      Sale Guidelines, the Approval Order, and all applicable federal, state,
                                      and local laws, regulations and ordinances, including, without
                                      limitation, all laws and regulations relating to advertising, privacy,
                                      consumer protection, occupational health and safety and the
                                      environment, together with all applicable statutes, rules, regulations and

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                                       orders of, and applicable restrictions imposed by, governmental
                                       authorities (collectively, the “Applicable General Laws”), other than all
                                       applicable laws, rules and regulations in respect of “going out of
                                       business”, “store closing” or similar-themed sales and permitting
                                       (collectively, the “Liquidation Sale Laws”);

                            (xxiv)     Agent is authorized to conduct the GOB Sale notwithstanding any
                                       Liquidation Sale Laws;

                            (xxv)      so long as the GOB Sale is conducted in accordance with the Sale
                                       Guidelines and the Approval Order and in a safe and professional
                                       manner, Purchaser shall be deemed to be in compliance with any
                                       Applicable General Laws;

                            (xxvi)     Agent is granted a limited license and right to use all Intellectual
                                       Property for purposes of conducting the GOB Sale and otherwise
                                       marketing any or all of the Assets;

                            (xxvii)    unless otherwise ordered by the Bankruptcy Court, all newspapers and
                                       other advertising media in which the GOB Sale is advertised shall be
                                       directed to accept the Approval Order as binding and to allow the
                                       Parties to consummate the transactions provided for in this Agreement,
                                       including, without limitation, conducting and advertising the GOB Sale
                                       in the manner contemplated by this Agreement;

                            (xxviii)   unless otherwise ordered by the Bankruptcy Court, all utilities,
                                       landlords, creditors, and other interested parties and all persons acting
                                       for or on their behalf shall not interfere with or otherwise impede the
                                       conduct of the GOB Sale, or institute any action in any forum other
                                       than the Bankruptcy Court that in any way directly or indirectly
                                       interferes with or obstructs or impedes the conduct of the GOB Sale;

                            (xxix)     the Bankruptcy Court retains exclusive jurisdiction over the
                                       enforcement and interpretation of, and over and all matters arising
                                       from, this Agreement;

                            (xxx)      Merchant is directed to provide weekly reporting to Agent of all
                                       amounts expended for Expenses and pursuant to the Wind-Down
                                       Budget;

                            (xxxi)     Merchant shall make its books and records available to Purchaser at all
                                       times;

                            (xxxii)    Purchaser shall not be liable for any claims against Merchant except
                                       as expressly provided for in this Agreement;



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                            (xxxiii)   all payments made by Merchant from the Wind-Down Payment shall
                                       be made pursuant to, and solely in accordance with, the Wind-Down
                                       Budget;

                            (xxxiv)    Purchaser shall neither have nor incur any obligation to advance or
                                       fund any amounts to or for Merchant except as set forth in this
                                       Agreement and the Wind-Down Budget;

                            (xxxv)     any amendment to or other modification of the Wind-Down Budget
                                       shall only be effective upon approval by Purchaser in its sole
                                       discretion;

                            (xxxvi)    Agent is authorized to sell the Additional Agent Merchandise on the
                                       terms set forth herein, subject to the Sale Guidelines;

                            (xxxvii)   following the occurrence of the Closing, the Adversary Proceeding is
                                       deemed dismissed with prejudice;

                            (xxxviii) following the occurrence of the Closing, neither the Debtor nor any
                                      other entity acting on its behalf or as its successor (including but not
                                      limited to the Committee and any chapter 7 or 11 trustee) may recover
                                      from the Notes Trustee or any holders of Second-Lien Notes any costs
                                      or expenses of preserving, or disposing of, any of the collateral
                                      securing Merchant’s obligations under the Indenture and the Second-
                                      Lien Notes pursuant to section 506(c) of the Bankruptcy Code;

                            (xxxix)    Purchaser and its designees are granted derivative standing to pursue
                                       the Avoidance Actions (subject to section 11.2(f) below) and Other
                                       Causes of Action in the name of and/or on behalf of Merchant;

                            (xl)       in the event any of the provisions of the Approval Order are modified,
                                       amended or vacated by a subsequent order of the Bankruptcy Court or
                                       any other court, Purchaser shall be entitled to the protections provided
                                       in Bankruptcy Code sections 363(m) and 364(e) and, no such appeal,
                                       modification, amendment or vacatur shall affect the validity and
                                       enforceability of the GOB Sale or the liens or priority authorized or
                                       created under this Agreement or the Approval Order;

                            (xli)      neither Purchaser nor any entity comprising Purchaser is or shall be a
                                       mere continuation of Merchant or otherwise subject to successor
                                       liability in connection with any of the Assets;

                            (xlii)     upon receipt by the DIP Administrative Agent (as defined in the Final
                                       DIP Order) and certain other persons as directed in the Payoff Letter
                                       (as defined below) of the DIP Payoff (as defined below) pursuant to
                                       Section 3.1(a) of this Agreement, all ongoing commitments under the
                                       DIP Credit Agreement (as defined in the Final DIP Order) shall be
                                       canceled and terminated;
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                            (xliii)   to the extent Purchaser has not designated the purchaser or other
                                      assignee of any Assets (the “Residual Assets”) as of December 31,
                                      2018 (as may be extended by written agreement of the Parties, the
                                      “Designation Rights Termination Date”), (1) ownership of all cash (on
                                      hand, in the bank, in transit, or otherwise), credit card processing float,
                                      accounts receivable, notes receivable, credit card receivables, other
                                      receivables, deposits, security deposits, proceeds of retail sales in all of
                                      the Debtors’ retail store locations, rights to refunds, other rights to
                                      payment, and Intellectual Property comprising Residual Assets shall
                                      vest in Purchaser or its nominee and (2) ownership of all other
                                      Residual Assets shall revert to the Debtors’ estates, each on the
                                      Designation Rights Termination Date; and

                            (xliv)    this Agreement, the Approval Order, and all provisions hereof and
                                      thereof are binding on any successor to Merchant, including but not
                                      limited to any chapter 7 or chapter 11 trustee, and subject to Agent’s
                                      obligation to pay Expenses and fund the Wind-Down Payment, any
                                      such successor shall continue to hold all Assets and Proceeds strictly
                                      in trust for the benefit of Purchaser.

         Section 3. Consideration to Merchant and Agent.

                 3.1     Purchase Price. The aggregate consideration being provided to Merchant in
         exchange for Purchaser’s rights and Merchant’s obligations under this Agreement is as follows
         (collectively, the “Purchase Price), which shall be allocated among the Assets in accordance with
         Purchaser’s bid letter dated April 4, 2018:

                      (a)    Cash Purchase Price. At the Closing and subject to the receipt of a payoff
         letter (the “Payoff Letter”) in form and substance satisfactory to the DIP Administrative Agent,
         Agent shall (i) pay to the DIP Administrative Agent, for the benefit of the DIP Lenders, and
         certain other persons as directed in the Payoff Letter, the amount in cash (the “DIP Payoff”)
         necessary to (1) indefeasibly pay the Pay-Off Amount (plus any Per Diem Interest) (as each such
         term is defined in the Payoff Letter), which amount shall include all DIP Obligations, including,
         without limitation, all outstanding principal, accrued interest, fees (including, without limitation,
         the outstanding Pre-Petition Tranche A Prepayment Premium and the Pre-Petition Specified
         Tranche A-1 Prepayment Premium (as each such term is defined in the DIP Credit Agreement)),
         costs and expenses (including, without limitation, all attorneys’ fees, costs and expenses), (2)
         cash collateralize outstanding letters of credit in accordance with the DIP Credit Agreement, and
         (3) fund the DIP Indemnity Account in accordance with Paragraph 36 of the Final DIP Order,
         (ii) fund the Carve Out Account in the amount of $15,800,000 in accordance with the last two
         sentences of Paragraph 39(c) of the Final DIP Order to be held in escrow in the trust account of
         [Young Conaway Stargatt & Taylor LLP], all as set forth in the Payoff Letter, and (iii) pay
         $3,000,000 to Merchant to provide liquidity for outstanding checks. Together, items (i), (ii), and
         (iii) are the “Cash Purchase Price.” The Payoff Letter shall contain a release from each of the
         Merchant, the Agent and the Prepetition Second Lien Parties in favor of the DIP Lenders. Each
         capitalized term used but not defined in this Section 3.1(a) shall have the meaning set forth in the
         Final DIP Order.
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                      (b)   Credit Bid. At the Closing, pursuant to the Credit Bid and as provided in the
         Approval Order, $125,000,000 of Notes Claims shall be deemed offset and exchanged for
         Purchaser’s rights and Merchant’s obligations under this Agreement.

                      (c)    Wind-Down Funding. Subject to the occurrence of the Closing, in addition to
         the Cash Purchase Price and the Credit Bid, Agent shall pay cash from the Proceeds of the Assets
         (or, solely to the extent the Proceeds are not available, funds provided by Agent) to Merchant
         from time to time after the Closing (the “Wind-Down Payment”), in the amount of $93,800,000
         (the “Wind-Down Cap”) for the purpose of paying certain administrative expenses of Merchant’s
         bankruptcy estate as set forth in the Wind-Down Budget (as defined below). Payments from the
         Wind-Down Payment for Wind-Down Services are subject to and to be used solely as set forth in
         the budget and schedule attached as Exhibit 3.1(c) hereto (as may be amended from time to time
         by agreement of the Parties, subject to approval by Purchaser in its sole discretion and, solely
         with respect to [compensation of the Committee’s professionals], 503(b)(9) Claims, and Stub
         Rent Claims (each as defined below), subject to approval by the Committee, the “Wind-Down
         Budget”). Merchant shall provide Purchaser with a register of all checks and ACH/wire transfers
         Merchant intends to issue pursuant to the Wind-Down Budget at least one business day before
         issuance, which register shall identify the payees, amounts, and expense categories of such
         payments. If so requested by Purchaser, Merchant shall, to the extent commercially feasible,
         (i) establish separate bank accounts for specific categories of expenses identified in the Wind-
         Down Budget (the “Wind-Down Accounts”), (ii) deposit the portions of the Wind-Down
         Payment allocable to categories for which Wind-Down Accounts have been established into such
         accounts, and (iii) not pay from any Wind-Down Account any amounts other than the
         administrative expenses reflected in the Wind-Down Budget for the applicable category. Any
         portion of the Wind-Down Payment that has not been expended by Merchant as of the
         Designation Rights Termination Date shall revert and be returned to Purchaser upon the
         dismissal or conversion of Merchant’s chapter 11 bankruptcy cases or the effective date of a plan
         of liquidation of Merchant. Any costs incurred by Merchant in connection with providing the
         Wind-Down Services (as defined below) shall be subject to the Wind-Down Budget and subject
         to the Wind-Down Cap and Merchant shall have no obligation to provide such Wind-Down
         Services unless the cost to do so is included in the Wind-Down Budget or provided for as an
         Expense.

                      (d)   Wind-Down / Expense Advance. As necessary from time to time on or before
         April 28, 2018, Agent shall advance (including through retention of Proceeds by Merchant) to
         Merchant the aggregate sum of $50,000,000 (the “Wind-Down / Expense Advance”) solely for
         payment of (i) Expenses (as defined below) and (ii) administrative expenses reflected in the
         Wind-Down Budget, as and when due. Any payment from the Wind-Down / Expense Advance
         (a) of expenses reflected in the Wind-Down Budget shall be credited against the Wind-Down
         Payment and (b) of Expenses shall constitute a payment of Expenses by Agent. The Wind-Down
         / Expense Advance shall, to the extent commercially feasible, be held in a segregated account
         and shall not be used for payment of any amounts other than as set forth in this paragraph 3.1(d).

                      (e) Expenses. After the Closing, Agent shall be responsible for the payment of all
         Expenses pursuant to Section 4.1 below.

                      (f)   Assumption of Certain Claims.
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                               (i)    Upon the occurrence of the Closing, Agent shall assume the
         obligation to pay (a) $2,000,000 (the “503(b)(9) Cap”) on account of claims against Merchant
         under section 503(b)(9) of the Bankruptcy Code (“503(b)(9) Claims”) and (b) $8,000,000 (the
         “Stub Rent Cap”) on account of claims against Merchant on account of stub rent (“Stub Rent”).
         An amount equal to the sum of the 503(b)(9) Cap and the Stub Rent Cap shall be placed into a
         segregated account established by Agent to be held in trust for the benefit of holders of 503(b)(9)
         Claims and Stub Rent Claims. To the extent the sum of all allowed Stub Rent Claims or
         503(b)(9) Claims, as the case may be, exceeds the Stub Rent Cap or the 503(b)(9) Cap, as
         applicable, such claims shall be paid pro rata up to, and subject to, the Stub Rent Cap or the
         503(b)(9) Cap, as applicable. All payments by Agent on account of Stub Rent Claims and
         503(b)(9) Claims shall be paid directly to the applicable claimants and shall be credited against
         the Wind-Down Payment.

                                (ii)   Within ten days after entry of the Approval Order, Merchant shall
         file and serve upon each known trade creditor and landlord identified in Merchant’s books and
         records as holding a 503(b)(9) Claim and/or a Stub Rent Claim a notice identifying such entity’s
         respective 503(b)(9) Claim or Stub Rent Claim (the “Creditor Notice”). Each recipient of a
         Creditor Notice shall have twenty days to file with the Bankruptcy Court and serve upon
         Merchant, Purchaser, and the Committee a response to such Creditor Notice identifying with
         specificity any dispute regarding such entity’s 503(b)(9) Claim and/or Stub Rent Claim. If no
         response is timely filed by a recipient of a Creditor Notice, the amount and priority of the
         503(b)(9) Claim and/or Stub Rent Claim identified on such Creditor Notice shall be binding and
         conclusive upon the holder thereof, and such holder shall thereafter be barred from objecting to
         such amount and priority. If a recipient of a Creditor Notice timely files a response thereto,
         Merchant and Agent, in consultation with the Committee, shall use best efforts to resolve the
         dispute asserted therein, provided that disputes that cannot be resolved within ten days shall be
         resolved by the Bankruptcy Court at the next scheduled omnibus hearing thereafter. The actual
         out-of-pocket costs of preparing, filing, and serving the Creditor Notice shall be paid by Agent as
         an Expense. Within sixty days after the entry of the Approval Order, Merchant shall provide
         Agent with a reconciliation of all of the allowed 503(b)(9) Claims and allowed Stub Rent
         Claims. Purchaser shall have no obligation to investigate, assess, object to, or contest the merits
         of any 503(b)(9) Claims or Stub Rent Claims and is entitled to rely on the amounts included on
         such reconciliation.

                                   (iii)   This paragraph 3.1(f) shall survive termination of this Agreement
         for any reason.

                 3.2        Consideration to Purchaser.

                    (a)    Proceeds. Upon the payment of the Cash Purchase Price but subject to
         Agent’s obligations to pay the Expenses and the Wind-Down Payment, all Proceeds shall be the
         exclusive property of Purchaser, subject to further distribution among the entities comprising
         Purchaser pursuant to any agreements between the entities comprising Purchaser and the Second
         Lien Noteholders.

                    (b)   Assets and Proceeds Held in Trust. Subject to Section 3.2(a), Merchant shall
         hold all of the Assets in trust for the benefit of Purchaser. Subject to Section 3.2(a), any
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         Proceeds received by, or otherwise in the possession of, Merchant at any time shall be segregated
         and held strictly in trust for the benefit of Purchaser, shall not be commingled with Merchant’s
         own assets, shall not become property of Merchant’s bankruptcy estate, and shall be paid over to
         Purchaser immediately. For the avoidance of doubt, the costs associated with maintaining the
         Assets available for sale pursuant to this Agreement shall be borne by Purchaser either as
         Expenses (as defined below) or through the Wind-Down Payment.

                     (c)    Merchant and Purchaser further agree that if at any time, Merchant holds any
         amounts due to Purchaser under this Agreement, Merchant may, in its discretion, offset such
         amounts being held by Merchant against any undisputed amounts due and owing by, or required
         to be paid by, Purchaser or Agent hereunder.

                    (d)    Remaining Merchandise. To the extent that there is Merchandise remaining at
         the Sale Termination Date (the “Remaining Merchandise”), such Remaining Merchandise shall
         be deemed automatically transferred to Agent free and clear of all liens, claims, and
         encumbrances. Agent and its affiliates shall be authorized to sell or otherwise dispose of the
         Remaining Merchandise with all logos, brand names, and other Intellectual Property intact, and
         shall be authorized to advertise the sale of the Remaining Merchandise using the Intellectual
         Property.

                 3.3         Proceeds of GOB Sales.

                    (a)     Following the payment of the Cash Purchase Price but subject to Agent’s
         obligation to pay Expenses and fund the Wind-Down Payment, Agent may (but shall not be
         required to) establish its own accounts (including without limitation credit card accounts and
         systems), dedicated solely for the deposit of the Proceeds of the GOB Sales (the “GOB Sale
         Proceeds”) and the disbursement of amounts payable to Agent in connection with the GOB Sales
         (the “Agency Accounts”), and Merchant shall promptly, upon Agent’s reasonable request,
         execute and deliver all necessary documents to open and maintain the Agency Accounts;
         provided, however, Agent shall have the right, in its sole and absolute discretion, to continue to
         use Merchant’s Designated Deposit Accounts (as defined below) as the Agency Accounts in
         which case Merchant’s Designated Deposit Accounts shall be deemed to be Agency Accounts.
         Agent shall exercise sole signatory authority and control with respect to the Agency Accounts.
         The Agency Accounts shall be dedicated solely to the deposit of GOB Sale Proceeds and other
         amounts contemplated by this Agreement in connection with the GOB Sale and the distribution
         of amounts payable hereunder in connection with the GOB Sale. Merchant shall not be
         responsible for, and Agent shall pay as an Expense hereunder, all bank fees and charges,
         including wire transfer charges, related to the GOB Sale and the Agency Accounts. Upon
         Agent’s notice to Merchant of Agent’s designation of the Agency Accounts (other than
         Merchant’s Designated Deposit Accounts), all GOB Sale Proceeds (including credit card GOB
         Sale Proceeds) shall be deposited into the Agency Accounts.

                       (b) Agent shall have the right to use Merchant’s credit card facilities, including
         Merchant’s credit card terminals and processor(s), credit card processor coding, Merchant’s
         identification number(s) and existing bank accounts for credit card transactions relating solely to
         the GOB Sale. In the event that Agent elects to use Merchant’s credit card facilities, Merchant
         shall process credit card transactions on behalf of Agent and for Agent’s account, applying
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         customary practices and procedures. Without limiting the foregoing, Merchant shall cooperate
         with Agent to download data from all credit card terminals each day during the Sale Term to
         effect settlement with Merchant’s credit card processor(s), and shall take such other actions
         necessary to process credit card transactions on behalf of Agent under Merchant’s identification
         number(s). At Agent’s request, Merchant shall cooperate with Agent to establish Merchant’s
         identification numbers under Agent’s name to enable Agent to process all such credit card GOB
         Sale Proceeds for Agent’s account. Merchant shall not be responsible for, and Agent shall pay as
         an Expense hereunder, all credit card fees, charges, and chargebacks related to the GOB Sale,
         whether received during or after the Sale Term. Agent shall not be responsible for, as an
         Expense or otherwise, any credit card fees, charges, or chargebacks relating to periods prior to
         the Closing.

                      (c)    Unless and until Agent establishes its own Agency Accounts (other than
         Merchant’s Designated Deposit Accounts), all GOB Sale Proceeds and other amounts
         contemplated by this Agreement (including credit card GOB Sale Proceeds), shall be collected
         by Merchant and deposited on a daily basis into depository accounts designated by, and owned
         and in the name of, Merchant for the Stores, which accounts shall be designated solely for the
         deposit of GOB Sale Proceeds and other amounts contemplated by this Agreement (including
         credit card GOB Sale Proceeds), and the disbursement of amounts payable to or by Agent
         hereunder (the “Designated Deposit Accounts”). All funds in the Designated Deposit Accounts
         shall at all times be held in trust for the benefit of Purchaser, subject to Agent’s obligation to pay
         Expenses and fund the Wind-Down Payment. The Designated Deposit Accounts shall be cash
         collateral accounts, with all cash, credit card payments, checks and similar items of payment,
         deposits and any other amounts in such accounts being GOB Sale Proceeds or other amounts
         contemplated hereunder, and Merchant hereby grants to Purchaser, subject to Agent’s obligation
         hereunder to fund the Wind-Down Payment and Expenses, a first priority senior security interest
         in each Designated Deposit Account and all funds on deposit in such accounts from and after the
         Closing.

                      (d)   Merchant shall take all actions necessary to designate Agent as an authorized
         signer on all Designated Deposit Accounts and to grant Agent the ability to initiate wire transfers
         from such Designated Deposit Accounts, provided that Purchaser’s interest in the Designated
         Deposit Accounts shall be subject to Agent’s obligation to pay Expenses and fund the Wind-
         Down Payment.

                     (e)   On each business day to the extent practicable, Merchant shall promptly pay
         to Agent by wire funds transfer all funds in the Designated Deposit Accounts (including, without
         limitation, GOB Sale Proceeds, GOB Sale Proceeds from credit card sales, and all other
         amounts) deposited into the Designated Deposit Accounts for the prior day(s), subject to Section
         3.2(c) above.

         Section 4. Expenses.

                4.1     Subject to and only upon entry of the Approval Order, in addition to and not
         subject to the Wind-Down Payment or Wind-Down Cap, Agent shall be unconditionally
         responsible for all “Expenses,” which shall be paid by Agent in accordance with Section 4.2

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         below. As used herein, “Expenses” shall mean the Store-level operating expenses that arise
         during the Sale Term, limited to the following:

                        (a)     actual payroll with respect to all Retained Employees used in connection
         with conducting the GOB Sale for actual days/hours worked at a Store during the Sale Term as
         well as payroll for any temporary labor engaged for the GOB Sale during the Sale Term;

                       (b)    any amounts payable by Merchant for benefits for Retained Employees
         (including FICA, unemployment taxes, workers’ compensation and healthcare insurance, but
         excluding Excluded Payroll Benefits) for Retained Employees used in the GOB Sale, in an
         amount not to exceed 23% of the base payroll for all Retained Employees (the “Payroll Benefits
         Cap”);

                            (c) subject to Section 6.1, the actual Occupancy Expenses categorized on
         Exhibit 4.1(c) in all cases limited on a per Store, per diem basis not to exceed the respective
         aggregate monthly amounts shown on Exhibit 4.1(c);

                            (d)   Retention Bonuses for Retained Employees, as provided for in Section 9.4
         below;

                        (e)     advertising and direct mailings relating to the GOB Sale, Store interior and
         exterior signage and banners, and sign-walkers, in each case relating to the GOB Sale, including
         the amounts set forth in section 15.1;

                        (f)    credit card fees, bank card fees, and chargebacks and credit/bank card
         discounts with respect to Merchandise sold in the GOB Sale;

                       (g)    bank service charges (for Store, corporate accounts, and Agency
         Accounts), check guarantee fees, and bad check expenses to the extent attributable to the GOB
         Sale;

                            (h) costs for additional Supplies at the Stores necessary to conduct the GOB
         Sale as and to the extent requested by Agent;

                      (i)     all fees and charges required to comply with applicable laws in connection
         with the GOB Sale as and to the extent agreed to by Agent;

                            (j)   Store cash theft and other store cash shortfalls in the registers;

                            (k)  all actual costs and expenses associated with Agent’s on-site supervision
         of the Stores and Distribution Centers, including (but not limited to) any and all fees, wages,
         taxes, third party payroll costs and expenses, and deferred compensation of Agent’s field
         personnel, travel to, from or between the Stores and Distribution Centers, and out-of-pocket and
         commercially reasonable expenses relating thereto (including reasonable and documented
         corporate travel to monitor and manage the GOB Sale);

                            (l)  postage, courier and overnight mail charges requested by Agent to the
         extent relating to the GOB Sale;
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                            (m)   third party payroll processing expenses associated with the GOB Sale;

                        (n)    costs of transfers initiated by Agent of Merchandise and Additional Agent
         Merchandise between and among the Stores and Distribution Centers during the Sale Term,
         including delivery and freight costs, it being understood that Agent shall be responsible for
         coordinating such transfer of Merchandise;

                        (o)     retention payments for Merchant’s corporate employees in an amount not
         to exceed $300,000 in the aggregate, subject to agreement of Merchant and Purchaser in their
         respective discretion;

                        (p)     to the extent Agent elects to use Merchant’s e-commerce site and related
         sales platform (“E-Commerce Platform”), costs of operating the E-Commerce Platform equal to
         (i) actual expenses to operate the E-Commerce Platform in an amount equal to $300,000 per
         week (prorated for partial weeks), plus (ii) the actual costs of shipping Online Merchandise to
         customers who purchase such Online Merchandise through the E-Commerce Platform from the
         Sale Commencement Date through and including the date that is seven (7) days after Agent
         provides Merchant with notice of Agent’s intention to discontinue using the E-Commerce
         Platform as a sales platform to fulfill customer orders, plus (iii) actual marketing expenses
         related to the E-Commerce Platform specifically requested by Agent in writing (including by
         email) such as, but not limited to, paid search and external advertising; and

                            (q)compensation of a consumer privacy ombudsman, if one is appointed by
         the United States Trustee, subject to approval of such compensation by the Bankruptcy Court.

         Notwithstanding anything herein to the contrary, to the extent that any Expense category listed in
         section 4.1 is also included on Exhibit 4.1(c), Exhibit 4.1(c) shall control and such Expenses
         shall not be double counted. There will be no double counting or payment of Expenses to the
         extent that Expenses appear or are contained in more than one Expense category.

                 As used herein, the following terms have the following respective meanings:

                                 (i)    “Central Service Expenses” means costs and expenses for
         Merchant’s central administrative services necessary for the GOB Sale, including, but not limited
         to, internal payroll processing, MIS services, cash and inventory reconciliation, data processing
         and reporting, information technology updates, functionality, and maintenance, and accounting
         (collectively, “Central Services”).

                                (ii)     “Excluded Payroll Benefits” means (i) the following benefits
         arising, accruing or attributable to the period prior to, during, or after the Sale Term:
         (w) vacation days or vacation pay, (x) sick days or sick leave or any other form of paid time off,
         (y) maternity leave or other leaves of absence and (z) ERISA coverage and similar contributions
         and/or (ii) any other benefits in excess of the Payroll Benefits Cap, including, without limitation,
         any payments due under the WARN Act.

                                (iii) “Occupancy Expenses” means, with respect to the Stores, base
         rent, percentage rent, HVAC, utilities, CAM, storage costs, real estate and use taxes, Merchant’s
         association dues and expenses, utilities expenses, cash register maintenance, routine repairs,
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         building maintenance, trash and snow removal, housekeeping and cleaning expenses, local and
         long-distance telephone and internet/wifi expenses, security (including, without limitation,
         security systems, courier and guard service, building alarm service and alarm service
         maintenance), and rental for furniture, fixtures and equipment.

                                (iv)    “Third Party” means, with reference to any Expenses to be paid to
         a Third Party, a party which is not affiliated with or related to Merchant.

                               (v)      Notwithstanding any other provision of this Agreement to the
         contrary, “Expenses” shall not include: (i) Excluded Payroll Benefits; (ii) Central Service
         Expenses, (iii) Occupancy Expenses or any occupancy-related expenses of any kind or nature in
         excess of the respective per Store occupancy-related amounts expressly provided for as an
         Expense under Section 4.1(c) above; (iv) any expenses of any kind relating to or arising from
         Merchant’s home office, and/or (v) any other costs, expenses or liabilities payable by Merchant
         not provided for herein, all of which shall be paid solely by Merchant (including from the Wind-
         Down Payment, to the extent provided in the Wind-Down Budget).

                 4.2        Payment of Expenses.

                 Subject to and only upon entry of the Approval Order, Agent shall be responsible for the
         payment of all Expenses out of Proceeds (or from Agent’s own accounts if and to the extent
         there are insufficient Proceeds). All Expenses incurred during each week of the GOB Sale (i.e.
         Sunday through Saturday) shall be paid by Agent to or on behalf of Merchant, or paid by
         Merchant and thereafter reimbursed by Agent as provided for herein; provided, however, in the
         event that the actual amount of an Expense is unavailable on the date of the reconciliation (such
         as payroll), Merchant and Agent shall agree to an estimate of such amounts, which amounts will
         be reconciled once the actual amount of such Expense becomes available. Agent and/or
         Merchant may review or audit the Expenses at any time.

                 4.3        Distribution Center Expenses

                Agent shall be responsible for allocating and designating the shipment of Merchandise
         from Merchant’s Distribution Centers to the Stores. All costs and expenses of operating the
         Distribution Centers, including, but not limited to, use and occupancy expenses, Distribution
         Center employee payroll and other obligations, and/or processing, transferring, consolidating,
         shipping, and/or delivering goods within or from the Distribution Centers (the “Distribution
         Center Expenses”), shall be borne by Agent as an Expense except to the extent provided for in
         the Wind-Down Budget.

         Section 5. Merchandise.

                 5.1        Merchandise Subject to This Agreement.

                        (a)    “Excluded Goods” means all (1) goods that are not owned by Merchant,
         including but not limited to goods that belong to sublessees, licensees, department lessees, or
         concessionaires of Merchant and (2) goods held by Merchant on memo, on consignment (except
         to the extent otherwise agreed by the applicable consignor), or as bailee. Merchant shall be
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         solely responsible for the disposition and/or abandonment of all Excluded Goods and all costs,
         expenses, and obligations associated therewith. Purchaser shall incur no cost, expense, or
         obligation in connection with any Excluded Goods.

                        (b)    “Merchandise” means all goods owned by Merchant for resale as of the
         occurrence of the Closing, other than Excluded Goods.

                        (c)   “On-line Merchandise” means all inventory that is both (i) designated for
         sale through the E-Commerce Platform as of the Sale Commencement Date and (ii) located in
         Merchant’s West Jefferson Distribution Center as of the Sale Commencement Date.

                5.2     Distribution Center Allocation. Allocation and designation of Merchandise
         located in the Distribution Centers to the Stores shall be in Agent’s sole discretion, subject to the
         Wind-Down Budget.

         Section 6. Sale Term.

                 6.1     Term. Subject to satisfaction of the conditions precedent set forth in Section 10
         hereof, the GOB Sale shall commence at each Store on a date determined by Agent in its sole
         discretion after the occurrence of the Closing (the “Sale Commencement Date”) and shall end at
         each Store no later than August 31, 2018 (the “Sale Termination Date”, and the period from the
         Sale Commencement Date to the Sale Termination Date as to each Store being the “Sale Term”),
         provided that the Sale Commencement Date shall occur no later than April 19, 2018. Agent
         may, in its discretion, earlier terminate the GOB Sale on a Store-by-Store basis upon not less
         than seven (7) days’ prior written notice (a “Vacate Notice”) to Merchant (the “Vacate Date”),
         provided, that it being understood that Agent’s obligations to pay all Expenses, including
         Occupancy Expenses, for each Store subject to a Vacate Notice shall continue until the
         applicable Vacate Date, provided, however, that, with respect to Occupancy Expenses, Agent’s
         obligations to pay all Occupancy Expenses for each Store shall continue until the last day of the
         calendar month in which the Vacate Date occurs for such Store.

                        6.2    Vacating the Stores. At the conclusion of the GOB Sale, Agent agrees to
         leave each Store in “broom clean” condition, ordinary wear and tear excepted, except for unsold
         items of Owned FF&E which may be abandoned by Agent in place in a neat and orderly manner
         pursuant to Section 7 below. Agent shall vacate each Store on or before the Sale Termination
         Date as provided for herein, at which time Agent shall surrender and deliver the Store premises,
         and Store keys, to Merchant unless the applicable Lease is being conveyed pursuant to the
         Lease/Contract Designation Rights. Agent’s obligations to pay all Expenses for the Stores shall
         continue as provided for in Section 6.1.

         Section 7. FF&E.

                7.1    Abandonment of FF&E. Agent shall be authorized to abandon any and all FF&E,
         whether owned or not by Merchant, in place without any cost or liability to Agent. For the
         avoidance of doubt, Agent shall have no responsibility whatsoever with respect to FF&E that is
         not owned by Merchant, provided that nothing in this Section 7 shall limit Agent’s rights with


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         respect to Owned FF&E under the Asset Designation Rights or with respect to leased FF&E
         under the Lease/Contract Designation Rights.

         Section 8. Conduct of the GOB Sale.

                 8.1    Rights of Agent. Subject to entry of the Approval Order, in addition to any other
         rights granted to Agent elsewhere in this Agreement, Agent shall be permitted to conduct the
         GOB Sale as a “going out of business”, “store closing”, “sale on everything”, “everything must
         go”, or similar themed sale throughout the Sale Term without compliance with any Liquidation
         Sale Laws. The Agent shall conduct the GOB Sale in the name of and on behalf of Merchant in
         a commercially reasonable manner and in compliance with the terms of this Agreement and
         subject to the Approval Order. Agent shall conduct the GOB Sale in accordance with the sale
         guidelines attached hereto as Exhibit 8.1(the “Sale Guidelines”). In addition to any other rights
         granted to Agent hereunder in conducting the GOB Sale the Agent, in the exercise of its
         reasonable discretion shall have the right:

                            (a)   to establish Sale prices and discounts and Store hours;

                        (b)     except as otherwise expressly included as an Expense, to use without
         charge during the Sale Term all FF&E, computer hardware and software, existing Supplies,
         intangible assets (including Merchant’s name, logo and tax identification numbers), Store keys,
         case keys, security codes and safe and lock combinations required to gain access to and operate
         the Stores, and any other assets of Merchant located at the Stores (whether owned, leased, or
         licensed);

                            (c)   (i) consistent with the Wind-Down Budget, to be provided by Merchant
         with central office facilities, central administrative services and personnel to process and perform
         Central Services and provide other central office services reasonably necessary for the GOB
         Sale; (ii) to use reasonably sized offices located at Merchant’s central office facility to effect the
         GOB Sale; and (iii) to use all customer lists, mailing lists, email lists, and web and social
         networking sites utilized by Merchant in connection with its business (to the extent such items
         can be segregated to the Stores and solely in connection with the GOB Sale and pursuant to such
         reasonable restrictions requested by Merchant in order for Merchant to comply with its privacy
         policy and applicable laws governing the use and dissemination of confidential consumer
         personal data);

                        (d)     to establish and implement advertising, signage and promotion programs
         consistent with the “going out of business”, “store closing”, “sale on everything”, “everything
         must go”, or similar themed sale, including without limitation by means of media advertising,
         and similar interior and exterior signs and banners, and the use of sign walkers, each at Agent’s
         expense; and

                       (e)     to transfer Merchandise between and among the Stores and Distribution
         Centers at Agent’s expense.

                 8.2     Terms of Sales to Customers; Final/As Is Sales. All sales of Merchandise will be
         “final sales” and “as is,” and appropriate signage and sales receipts will reflect the same. Agent
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         shall not warrant the Merchandise in any manner, but will, to the extent legally permissible, pass
         on all manufacturers’ warranties to customers. All sales will be made only for cash or nationally
         recognized bank credit cards. Upon entry of the Approval Order, Agent shall not accept or
         honor coupons during the Sale Term. The Agent shall clearly mark all receipts for the
         Merchandise sold at the Stores during the Sale Term so as to distinguish such Merchandise from
         the goods sold prior to the Sale Commencement Date. Unless otherwise agreed between Agent
         and the issuer of Merchant’s private-label credit cards (“PLCCs”), Agent shall not accept PLCCs
         as a form of payment during the Sale.

                 8.3        Sales Taxes.

                            (a)  During the Sale Term, all sales, excise, gross receipts and other taxes
         attributable to sales of Merchandise and Additional Agent Merchandise, as indicated on
         Merchant’s point of sale equipment (other than taxes on income) payable to any taxing authority
         having jurisdiction (collectively, “Sales Taxes”) shall be added to the sales price of Merchandise
         and Additional Agent Merchandise and collected by Agent, on Merchant’s behalf, at the time of
         sale. All Sales Taxes shall be deposited into a segregated account designated by Merchant and
         Agent solely for the deposit of such Sales Taxes (the “Sales Taxes Account”). Merchant shall
         prepare and file all applicable reports and documents required by the applicable taxing
         authorities, and Merchant shall promptly pay all Sales Taxes from the Sales Taxes Account.
         Merchant will be given access to the computation of gross receipts for verification of all such tax
         collections. Provided that Agent performs its responsibilities in accordance with this Section 8.3,
         Agent shall have no further obligation to Merchant, any taxing authority, or any other party, and
         Merchant shall indemnify and hold harmless Agent from and against any and all costs, including,
         but not limited to, reasonable attorneys’ fees, assessments, fines or penalties which Agent
         sustains or incurs as a result or consequence of the failure by Merchant to promptly pay such
         taxes to the proper taxing authorities and/or the failure by Merchant to promptly file with such
         taxing authorities all reports and other documents required by applicable law to be filed with or
         delivered to such taxing authorities. If Agent fails to perform its responsibilities in accordance
         with this Section 8.3, and provided Merchant complies with its obligations hereunder, Agent
         shall indemnify and hold harmless Merchant from and against any and all costs, including, but
         not limited to, reasonable attorneys’ fees, assessments, fines or penalties which Merchant
         sustains or incurs as a result or consequence of the failure by Agent to collect Sales Taxes and/or
         the failure by Agent to promptly deliver any and all reports and other documents required to
         enable Merchant to file any requisite returns with such taxing authorities.

                            (b)Without limiting the generality of Section 8.3(a) hereof, it is hereby
         agreed that, as Agent is conducting the GOB Sale solely as agent for Merchant, various
         payments that this Agreement contemplates that one party may make to the other party
         (including the payment by Agent of the Guaranteed Amount) do not represent the sale of
         tangible personal property and, accordingly, are not subject to Sales Taxes.

                8.4     Supplies. Agent shall have the right to use, without charge, all existing supplies
         located at the Stores, Distribution Centers and corporate office(s), including, without limitation,
         boxes, bags, paper, twine and similar sales materials (collectively, “Supplies”). In the event that
         additional Supplies are required in any of the Stores during the GOB Sale, Merchant agrees to

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         promptly provide the same to Agent, if available, for which Agent shall reimburse Merchant at
         Merchant’s cost therefor.

                 8.5    Returns of Merchandise. Agent shall accept returns of goods sold by Merchant
         prior to the Closing for a period of ten days from and including the Sale Commencement Date.
         Thereafter, Agent shall have no obligation to accept returns of goods sold by Merchant prior to
         the Closing. Agent’s acceptance of returns shall not impact the Wind-Down Budget or the
         Wind-Down Cap.

                 8.6    Gift Certificates & Credits. Agent shall accept Merchant’s gift certificates, gift
         cards, store credits, return credits, or similar merchandise credits issued by Merchant
         (collectively, “Gift Certificates”) for a period of ten days from and including the Sale
         Commencement Date. Thereafter, Agent shall have no obligation to accept Gift Certificates.
         Agent’s acceptance of Gift Certificates shall not impact the Wind-Down Budget or the Wind-
         Down Cap.

                  8.7    Right to Monitor. Merchant shall have the right to monitor the GOB Sale and
         activities attendant thereto and to be present in the Stores during the hours when the Stores are
         open for business; provided that Merchant’s presence does not unreasonably disrupt the conduct
         of the Sale. Merchant shall also have a right of access to the Stores at any time in the event of an
         emergency situation and shall promptly notify Agent of such emergency.

                 8.8     Sale Reconciliation. On each Wednesday during the Sale Term, Agent and
         Merchant shall cooperate to reconcile Expenses, make payments/setoffs on account of the GOB
         Sale Proceeds and reconcile such other GOB Sale-related items as either party shall reasonably
         request, in each case for the prior week or partial week (i.e. Sunday through Saturday), all
         pursuant to procedures agreed upon by Merchant and Agent (the “Weekly Sale
         Reconciliation”). Within thirty (30) days after the end of the Sale Term, or as soon as
         practicable thereafter, Agent and Merchant shall complete a final reconciliation of the Sale (the
         “Final Reconciliation”), the written results of which shall be certified by representatives of each
         of the Merchant and Purchaser as a final settlement of accounts between the Merchant and
         Purchaser with respect to the GOB Sale. Within five (5) days after the completion of the Final
         Reconciliation and execution of a settlement letter including an appropriate mutual release for
         the benefit of Merchant and Purchaser, Agent shall pay to Merchant, or Merchant shall pay to
         Agent, as the case may be, any and all amounts due the other pursuant to the Final
         Reconciliation. The Approval Order shall provide that the Final Reconciliation, once agreed to
         by Merchant and Purchaser, shall be automatically deemed approved pursuant to Bankruptcy
         Code section 105(a) and Rule 9019 of the Federal Rules of Bankruptcy Procedure without
         further order of the Bankruptcy Court or action by any party. During the Sale Term, and
         thereafter until all of Merchant’s and Purchaser’s and Agent’s obligations under this Agreement
         have been satisfied, Merchant and Purchaser shall have reasonable access to Merchant’s and
         Purchaser’s records with respect to the GOB Sale (including, but not limited to Merchandise,
         GOB Sale Proceeds, and Expenses) to review and audit such records.




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                 8.9        Additional Agent Merchandise.

                        (a)     Agent shall be entitled to include in the Sale additional merchandise
         procured by Agent which is of like kind as, and no lesser quality to, the Merchandise located in
         the Stores (“Additional Agent Merchandise”). Agent shall be responsible for payment of all
         costs associated with any Additional Agent Merchandise. All proceeds of the sale of Additional
         Agent Merchandise shall remain the exclusive property of Agent.

                      (b)    The Additional Agent Merchandise shall be at all times subject to the
         control of Agent. If requested by Agent, Merchant shall, at Agent’s expense, insure the
         Additional Agent Merchandise and, if required, promptly file any proofs of loss with regard to
         same with Merchant’s insurers.

                        (c)     Any transactions relating to the Additional Agent Merchandise are, and
         shall be construed as, a true consignment from Agent to Merchant. Merchant acknowledges, and
         the Approval Order (as and when applicable) shall provide, that the Additional Agent
         Merchandise shall be consigned to Merchant as a true consignment under Article 9 of the
         Uniform Commercial Code in effect in the State of Delaware (the “UCC”). Agent is hereby, and
         shall be through the Approval Order, granted a first priority security interest in (i) the Additional
         Agent Merchandise and (ii) the Additional Agent Merchandise Proceeds, which security interest
         shall be deemed perfected pursuant to the Approval Order without the requirement of filing UCC
         financing statements or providing notifications to any prior secured parties (provided that Agent
         is hereby authorized to deliver any notices and file any financing statements and amendments
         thereof under the applicable UCC identifying Agent’s interest in the Additional Agent
         Merchandise and any proceeds from the sale thereof as consigned goods thereunder and
         Merchant as the consignee therefor, and Agent’s security interest in such Additional Agent
         Merchandise and Additional Agent Merchandise proceeds.

                       (d)   Agent shall provide signage in the Stores notifying customers that the
         Additional Agent Merchandise has been included in the Sale.

                         8.10 E-Commerce Platform. Subject to the Wind-Down Budget and payment
         of Expenses, Agent shall use the E-Commerce Platform in connection with the GOB Sale to
         fulfill customer orders made during the GOB Sale Term and otherwise promote the GOB Sale
         (in Agent’s capacity as Agent hereunder), provided that Agent shall have the option, in its sole
         discretion, to terminate the use of the E-Commerce Platform at any time after four weeks of use.
         During the use of the E-Commerce Platform, and consistent with the Wind-Down Budget
         (i) Merchant shall continue to provide for the operation and maintenance of the E-Commerce
         Platform, including information technology and E-Commerce Platform updates, and provide
         Agent with all assistance with respect to the functionality of the E-Commerce Platform,
         fulfillment of orders, and promotion of the GOB Sale and (ii) Agent shall pay as an Expense
         those amounts reflected in Section 4.1(p) through and including the date that is seven (7) days
         after Agent provides Merchant with notice of Agent’s intention to discontinue using the E-
         Commerce Platform as a sales platform to fulfill customer orders (the “LDOB Date”); provided,
         however, that, if Agent continues the Sale at the Stores after the LDOB Date, Merchant shall, as
         a Central Service and at no cost or expense to Agent (other than as provided in the Wind-Down
         Budget), maintain the E-Commerce Platform with limited functionality for the limited purposes
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         of advertising and promoting the Sale at the Stores, periodically updating such advertising and
         promotions, and maintaining and updating the Store locator function at no cost or expense to
         Agent. With respect to the E-Commerce Platform, (i) Agent shall be authorized to sell
         Additional Agent Goods through the E-Commerce Platform and (ii) the Parties may implement
         such other processes, procedures, and agreements as may be necessary or appropriate for the
         efficient and continued operation of the E-Commerce Platform. In the event Agent elects to
         discontinue using the E-Commerce Platform as a sales platform to fulfill customer orders,
         Merchant agrees that neither Merchant nor any other person or entity shall complete any sale of
         goods for Merchant’s or any other person’s or entity’s account utilizing the E-Commerce
         Platform during the GOB Sale Term, Merchant shall otherwise comply with Merchant’s
         obligations under this Agreement in respect of the E-Commerce Platform, and Merchant shall, as
         a Central Service and at no cost or expense to Agent (other than as provided in the Wind-Down
         Budget), maintain the E-Commerce Platform with limited functionality for the limited purposes
         of advertising and promoting the GOB Sale at the Stores, periodically updating such advertising
         and promotions, and maintaining and updating the Store locator function. As part of the
         Allocation Schedule, Merchant and Agent shall mutually agree upon an allocation of certain On-
         line Merchandise to be promptly delivered to the Stores and not sold through the E-Commerce
         Platform (the “Designated On-line Merchandise”). In the event Agent ceases using the E-
         Commerce Platform as a sales platform prior to the Sale Termination Date, Merchant shall be
         responsible for processing and ticketing all Merchandise not sold through the E-Commerce
         Platform for sale in the Stores and delivering any remaining On-line Merchandise (the
         “Remaining On-line Merchandise”) to the Stores according to a mutually agreed upon allocation
         schedule.

         Section 9. Employee Matters.

                 9.1     Merchant’s Employees. Subject to the Wind-Down Budget and payment of
         Expenses, Agent may use Merchant’s employees in the conduct of the Sale to the extent Agent
         deems necessary for the Sale, and Agent may select and schedule the number and type of
         Merchant’s employees required for the Sale. Agent shall identify any such employees to be used
         in connection with the Sale (each such employee, a “Retained Employee”). Notwithstanding the
         foregoing, Merchant’s employees shall at all times remain employees of Merchant. Agent’s
         selection and scheduling of Merchant’s employees shall at all times comply with all applicable
         laws and regulations. Merchant and Agent agree that, except to the extent that wages and
         benefits of Retained Employees constitute Expenses hereunder, nothing contained in this
         Agreement and none of Agent’s actions taken in respect of the Sale shall be deemed to constitute
         an assumption by Agent of any of Merchant’s obligations relating to any of Merchant’s
         employees including, without limitation, Excluded Payroll Benefits, Worker Adjustment
         Retraining Notification Act (“WARN Act”) claims and other termination type claims and
         obligations, or any other amounts required to be paid by statute or law; nor shall Agent become
         liable under any employment agreement, collective bargaining agreement, or be deemed a joint
         or successor employer with respect to such employees. For the avoidance of doubt, Merchant
         shall be responsible for providing any required notice under the WARN Act with respect to its
         employees and otherwise comply with the WARN Act with respect to any “plant closing” or
         “mass layoff’ (as defined in the WARN Act) or group termination or similar event affecting the
         employees, whether before or after the date of this Agreement. Merchant shall not, without the
         prior consent of Agent, raise the salary or wages or increase the benefits for, or pay any bonuses
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         or other extraordinary payments to, any Store or Distribution Center employees prior to the Sale
         Termination Date. Merchant shall not transfer any employee in anticipation of the Sale nor any
         Retained Employee during the Sale Term, in each case without Agent’s prior consent. To the
         extent reasonably requested by Agent, and at Agent’s expense, Merchant shall use commercially
         reasonable efforts to hire additional temporary employees to facilitate the GOB Sale, which
         employees shall constitute Retained Employees for purposes of this Agreement.

                9.2     Termination of Employees. Agent may in its discretion stop using any Retained
         Employee at any time during the Sale, subject to the conditions provided for herein. In the event
         that Agent desires to cease using any Retained Employee, Agent shall notify Merchant at least
         seven (7) days prior thereto; provided, however, that, in the event that Agent determines to cease
         using an employee “for cause” (such as dishonesty, fraud or breach of employee duties), the
         seven (7) day notice period shall not apply; provided, further, however, that Agent shall
         immediately notify Merchant of the basis for such “cause.” From and after the date of this
         Agreement and until the Sale Termination Date, Merchant shall not transfer or dismiss
         employees of the Stores or Distribution Centers except “for cause” without Agent’s prior
         consent. Notwithstanding the foregoing, Agent shall not have the right to terminate the actual
         employment of any employee, but rather may only cease using such employee in the Sale and
         paying any Expenses with respect to such employee (and all decisions relating to the termination
         or non-termination of such employees shall at all times rest solely with Merchant).

                9.3     Payroll Matters. During the Sale Term, Merchant shall process the payroll for all
         Retained Employees and any former employees and temporary labor engaged for the Sale. Each
         Wednesday (or such other date as may be reasonably requested by Merchant to permit the
         funding of the payroll accounts before such payroll is due and payable) during the Sale Term,
         Agent shall transfer to Merchant’s payroll accounts an amount equal to the base payroll for
         Retained Employees plus related payroll taxes, workers’ compensation and benefits for such
         week, to the extent such amount constitutes Expenses hereunder.

                9.4      Employee Retention Bonuses. Subject to approval by the Bankruptcy Court,
         Agent may pay, as an Expense, retention bonuses and/or severance pay (“Retention Bonuses”)
         (which bonuses shall be inclusive of payroll taxes, but as to which no benefits shall be payable),
         up to a maximum of $7,400,000 in the aggregate, to such Retained Employees who do not
         voluntarily leave employment, are not otherwise entitled to receive severance pay, and are not
         terminated “for cause,” as Agent may determine in its discretion. Subject to approval by the
         Bankruptcy Court, the amount of such Retention Bonuses shall be in an amount to be determined
         by Agent, in its discretion, and shall be payable within thirty (30) days after the Sale Termination
         Date, and shall be processed through Merchant’s payroll system.

         Section 10. Conditions Precedent and Subsequent.

                            (a)  The willingness of Purchaser to enter into the transactions contemplated
         under this Agreement, and the occurrence of the Closing, are directly conditioned upon the
         satisfaction of the following conditions at the time or during the time periods indicated, unless
         specifically waived in writing by Purchaser in its sole discretion:


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                               (i)        Entry of the Approval Order shall have occurred no later than
                 April 18, 2018;

                                 (ii)    All representations and warranties of Merchant hereunder shall be
         true and correct in all material respects as of the Closing, and Merchant shall have in all material
         respects performed the obligations and complied with the covenants required by this Agreement
         to be performed or complied with by it prior to the Closing; and

                                  (iii)   All of the Parties shall have executed this Agreement.

                            (b)  The willingness of Merchant to enter into the transactions contemplated
         under this Agreement, and the occurrence of the Closing, are directly conditioned upon the
         satisfaction of the following conditions at the time or during the time periods indicated, unless
         specifically waived in writing by Merchant:

                                (i)       The Bankruptcy Court shall have entered the Approval Order no
         later than April 18, 2018;

                                 (ii)    All representations and warranties of Purchaser hereunder shall be
         true and correct in all material respects as of the Closing, and Purchaser shall have in all material
         respects performed the obligations and complied with the covenants required by this Agreement
         to be performed or complied with by it prior to the Closing; and

                                  (iii)   All of the Parties shall have executed this Agreement.

         Section 11. Representations, Warranties and Covenants.

                11.1 Merchant’s Representations, Warranties and Covenants.                 Merchant hereby
         represents, warrants and covenants in favor of Purchaser as follows:

                            (a) As of the date of this Agreement and at the Closing, Merchant (i) is duly
         organized, validly existing and in good standing under the laws of State of Delaware; (ii) has all
         requisite corporate power and authority to own, lease and operate the Assets and to carry on its
         business as presently conducted; (iii) is, and during the Sale Term will continue to be, duly
         authorized and qualified to do business and in good standing in each jurisdiction where the
         nature of its business or properties requires such qualification, including all jurisdictions in
         which the Stores are located, except, in each case, to the extent that the failure to be in good
         standing or so qualified could not reasonably be expected to have a material adverse effect on the
         ability of Merchant to execute and deliver this Agreement and perform fully its obligations
         hereunder; and (iv) has paid when due, and until the sale or other disposition of all of the Assets,
         will continue to pay when due, all United States Trustee fees.

                            (b)Subject only to entry of the Approval Order, Merchant, as of the date of
         this Agreement and at the Closing, has the right, power and authority to execute and deliver this
         Agreement and each other document and agreement contemplated hereby (collectively, together
         with this Agreement, the “Agency Documents”) and to perform fully its obligations thereunder.
         Merchant has taken all necessary actions required to authorize the execution, delivery and
         performance of the Agency Documents, and no further consent or approval is required for
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         Merchant to enter into and deliver the Agency Documents, to perform its obligations thereunder
         and to consummate the Sale, except for any such consent the failure of which to be obtained
         could not reasonably be expected to prevent or materially delay or impair the ability of Merchant
         to execute and deliver this Agreement and perform fully its obligations hereunder. Each of the
         Agency Documents has been duly executed and delivered by Merchant and, upon the due
         authorization, counter-execution, and delivery of this Agreement by Purchaser, constitutes the
         legal, valid and binding obligation of Merchant enforceable in accordance with its terms.

                            (c)The Cash Purchase Price determined pursuant to Section 3.1(a) above
         shall not exceed [$574,831,000] as of April 19, 2018.

                            (d)  Merchant, as of the date of this Agreement and at the Closing, owns good
         and marketable title to all of the Assets, free and clear of all security interests, liens, claims and
         encumbrances of any nature other than the security interests securing the DIP Obligations (as
         defined in the Final DIP Order) and the Second-Lien Notes. Merchant shall not create, incur,
         assume or suffer to exist any security interest, lien or other charge or encumbrance upon or with
         respect to any of the Assets. From and after the Closing, subject to the Wind-Down Budget,
         Merchant shall perform such tasks and services as are necessary to maintain all of the Assets in
         salable condition, to preserve the Assets and the economic value thereof, and to maintain good,
         clear, and marketable title to all of the Assets at all times until all Assets have been sold or
         otherwise disposed of, and such tasks and services as Purchaser may otherwise reasonably
         request in connection with the Assets, including but not limited to paying all ad valorem taxes
         and utilities when due, performing all routine maintenance, cooperating with Purchaser to obtain
         the refund of all deposits and security deposits, and renewing all necessary licenses and
         registrations (collectively, all of the foregoing are the “Wind-Down Services”).

                         (e)      Merchant has maintained its pricing files in the ordinary course of
         business, and prices charged to the public for goods are the same in all material respects as set
         forth in such pricing files for the periods indicated therein, all pricing files and records are true
         and accurate in all material respects as to the actual cost to Merchant for purchasing the goods
         referred to therein and as to the selling price to the public for such goods without consideration
         of any point of sale discounts, as of the dates and for the periods indicated therein. Merchant
         represents that (i) the ticketed prices of all items of Merchandise do not and shall not include any
         Sales Taxes and (ii) all registers located at the Stores are programmed to correctly compute all
         Sales Taxes required to be paid by the customer under applicable law, as such calculations have
         been identified to Merchant by its retained service provider.

                            (f)Through the Sale Commencement Date, Merchant has ticketed or marked,
         and shall continue to ticket or mark, all items of inventory received at the Stores in a manner
         consistent with similar Merchandise located at the Stores, and in accordance with Merchant’s
         ordinary course past practices and policies relative to pricing and marking inventory.

                       (g)    Since March 1, 2018, Merchant has not, and through the Sale
         Commencement Date Merchant shall not, purchase for or transfer to or from the Stores any
         merchandise or goods outside the ordinary course.



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                            (h)  To Merchant’s knowledge after reasonable inquiry, all Merchandise is in
         compliance with all applicable federal, state and local product safety laws, rules and standards.
         Merchant shall provide Agent with its historic policies and practices, if any, regarding product
         recalls prior to the Sale Commencement Date.

                            (i) Subject to the Wind-Down Budget, Merchant shall, throughout the Sale
         Term, maintain in good working order, condition, and repair all cash registers, heating systems,
         air conditioning systems, elevators, escalators and all other mechanical devices necessary or
         appropriate for the conduct of the Sale at the Stores. Except as otherwise restricted by the
         Bankruptcy Code upon filing of the Bankruptcy Case or the Wind-Down Budget, and absent a
         bona fide dispute, throughout the Sale Term, Merchant shall remain current on all expenses and
         payables necessary or appropriate for the conduct of the GOB Sale.

                            (j) Subject the Wind-Down Budget, payment of Expenses by Agent, and
         approval by the Bankruptcy Court, Merchant has paid, and will continue to pay throughout the
         Sale Term, all self-insured or Merchant-funded employee benefit programs for Store employees,
         including health and medical benefits and insurance and all proper claims made or to be made in
         accordance with such programs.

                            (k)Since March 1, 2018, Merchant has not taken, and shall not throughout the
         Sale Term take, any actions with the intent of increasing the Expenses of the Sale, including
         without limitation increasing salaries or other amounts payable to employees; except to the
         extent an employee was due an annual raise in the ordinary course.

                            (l) Prior to the execution of this Agreement, Merchant has provided Agent
         reasonable access to all pricing and cost files, computer hardware, software and data files, inter-
         Stores transfer logs, markdown schedules, invoices, style runs and all other documents relative to
         the price, mix and quantities of inventory located at the Stores and the Distribution Centers or on
         order or in transit.

                        (m)    To Merchant’s knowledge after reasonable inquiry, all documents,
         information and supplements provided by Merchant to Agent in connection with Agent’s due
         diligence and the negotiation of this Agreement were true and accurate in all material respects at
         the time provided.

                            (n) Other than filing the Bankruptcy Case, no action, arbitration, suit, notice,
         or legal, administrative or other proceeding before any court or governmental body has been
         instituted by or against Merchant, or has been settled or resolved, or to Merchant’s knowledge, is
         threatened against or affects Merchant, relative to Merchant’s business or properties, or which
         questions the validity of this Agreement, or that if adversely determined, would adversely affect
         the conduct of the Sale.

         The representations set forth in Sections 11.1(e), (f), (g), and (h) shall not survive the Closing.

                11.2 Purchaser’s Representations, Warranties and Covenants.                 Purchaser hereby
         represents, warrants and covenants in favor of Merchant as follows:


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                            (a) Each member comprising Purchaser: (i) is duly and validly existing and in
         good standing under the laws of the State of its organization; (ii) has all requisite power and
         authority to carry on its business as presently conducted and to consummate the transactions
         contemplated hereby; (iii) is duly authorized and qualified to do business and in good standing in
         each jurisdiction where the nature of its business or properties requires such qualification,
         including, in the case of the entities comprising Agent, all jurisdictions in which the Stores are
         located, except, in each case, to the extent that the failure to be in good standing or so qualified
         could not reasonably be expected to have a material adverse effect on the ability of such member
         to execute and deliver this Agreement and perform fully its obligations hereunder.

                            (b)To the extent permitted and authorized under the Indenture, (i) each
         member comprising Purchaser has the right, power and authority to execute and deliver each of
         the Agency Documents to which it is a party and to perform fully its obligations thereunder;
         (ii) each member comprising Purchaser has taken all necessary actions required to authorize the
         execution, delivery and performance of the Agency Documents, and no further consent or
         approval is required on the part of such member for such member to enter into and deliver the
         Agency Documents, to perform its obligations thereunder and to consummate the transactions
         contemplated thereby, and (iii) each of the Agency Documents has been duly executed and
         delivered by the members of Purchaser party thereto and, assuming the due authorization,
         execution, and delivery of this Agreement by Merchant, constitutes the legal, valid and binding
         obligation of such member enforceable in accordance with its terms, except as such
         enforceability may be limited by bankruptcy, insolvency, reorganization, moratorium, and
         similar laws affecting the rights of creditors generally and by general principles of equity. No
         court order or decree of any federal, state or local governmental authority or regulatory body is
         in effect that would prevent or impair, or is required for, Purchaser’s consummation of the
         transactions contemplated by this Agreement, and no consent of any third party which has not
         been obtained is required therefor, other than as provided herein. No contract or other agreement
         to which Purchaser is a party or by which Purchaser is otherwise bound will prevent or impair
         the consummation of the transactions contemplated by this Agreement.

                        (c)     No action, arbitration, suit, notice or legal administrative or other
         proceeding before any court or governmental body has been instituted by or against Purchaser, or
         has been settled or resolved or, to Purchaser’s knowledge, has been threatened against or affects
         Purchaser, which questions the validity of this Agreement or any action taken or to be taken by
         Purchaser in connection with this Agreement or which, if adversely determined, would have a
         material adverse effect upon Purchaser’s ability to perform its obligations under this Agreement.

                       (d)     The GOB Sale shall be conducted in compliance with all applicable state
         and local laws, rules and regulations and Merchant’s leases and other agreements, except as
         otherwise provided for in the Sale Guidelines and Approval Order.

                         (e)    Absent prior consent by Merchant, Purchaser will not cause any non-
         emergency repairs or maintenance (emergency repairs are repairs necessary to preserve the
         security of a Store premise or to ensure customer safety) to be conducted at the Stores.

                     (f)    Purchaser shall not prosecute, or otherwise use offensively or defensively,
         Avoidance Actions against any of Merchant’s (1) non-insider trade vendors or landlords,
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         (2) employees and officers with respect to retention payments received pursuant to Retention
         Agreements in 2017, or (3) directors with respect to directors’ fees received, and such Avoidance
         Actions shall be released as of the Closing. This paragraph 11.2(f) shall survive any termination
         of this Agreement for any reason.

         Section 12. Insurance.

                 12.1 Merchant’s Liability Insurance. Until the Designation Rights Termination Date
         or as otherwise directed by Purchaser or set forth in this Agreement, Merchant shall continue to
         maintain, subject to the Wind-Down Budget and the Wind-Down Cap, in such amounts as it
         currently has in effect, all of its liability insurance policies, including but not limited to
         commercial general liability, products liability, comprehensive public liability, auto liability and
         umbrella liability insurance, covering injuries to persons and property in, or in connection with,
         the Assets and/or Merchant’s operation of its business and the Store and Distribution Centers;
         and Merchant shall cause Purchaser to be named as an additional named insured (as its interest
         may appear) with respect to all such policies. Merchant shall deliver to Purchaser certificates
         evidencing such insurance setting forth the duration thereof and naming Purchaser as an
         additional named insured, in form reasonably satisfactory to Purchaser. All such policies shall
         require at least thirty (30) days’ prior notice to Purchaser of cancellation, non-renewal or
         material change. In the event of a claim under any such policies, Merchant shall be responsible
         for the payment of all deductibles, retentions or self-insured amounts thereunder (which may be
         reimbursed as an Expense and/or pursuant to the Wind-Down Payment, subject to the Wind-
         Down Budget and the Wind-Down Cap), unless it is determined that liability arose by reason of
         the willful misconduct or grossly negligent acts or omissions of Purchaser, or Purchaser’s
         employees, independent contractors or agents. Merchant shall not make any change in the
         amount of any deductibles or self-insurance amounts on or after the date of this Agreement
         without Purchaser’s prior written consent.

                 12.2 Merchant’s Casualty Insurance. Until the Designation Rights Termination Date
         or as otherwise directed by Purchaser or set forth in this Agreement, Merchant shall continue to
         maintain, subject to the Wind-Down Budget and the Wind-Down Cap, all of its presently
         existing property casualty coverage related to the Assets (including but not limited to fire, flood,
         wind, hail, natural disaster, theft, and extended coverage casualty insurance) until the sale or
         other disposition of all Assets covered by such policies. From and after the date of this
         Agreement, all such policies will also name Purchaser as an additional named insured or loss
         payee, as applicable (as its interest may appear). In the event of a loss to the Assets on or after
         the date of this Agreement, all proceeds of such insurance shall constitute Proceeds hereunder.
         Merchant shall deliver to Purchaser certificates evidencing such insurance, setting forth the
         duration thereof and naming Purchaser as an additional insured or loss payee, as applicable, in
         form and substance reasonably satisfactory to Purchaser. All such policies shall require at least
         thirty (30) days’ prior notice to Purchaser of cancellation, non-renewal or material change.
         Merchant shall not make any change in the amount of any deductibles or self-insurance amounts
         on or after the date of this Agreement without Purchaser’s prior written consent. Upon the sale,
         conveyance, or other disposition of any Asset specifically identified in any of Merchant’s
         casualty insurance policies, Merchant, if reasonably requested by Purchaser, shall cancel the
         casualty coverage specifically applicable to such Asset.

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                 12.3 Agent’s Insurance. Agent shall maintain, at Agent’s cost (as an Expense) and in
         such amounts as Agent currently has in effect, commercial general liability policies covering
         injuries to persons and property in or in connection with Agent’s agency at the Stores and shall
         cause Merchant to be named as an additional insured with respect to such policies. Agent shall
         deliver to Merchant certificates evidencing such insurance policies setting forth the duration
         thereof and naming Merchant as an additional insured, in form and substance reasonably
         satisfactory to Merchant. In the event of a claim under any such policies, Agent shall be
         responsible for the payment of all deductibles, retentions or self-insured amounts thereunder,
         unless it is determined that liability arose by reason of the willful misconduct or grossly
         negligent acts or omissions of Merchant or Merchant’s employees, independent contractors or
         agents (other than Agent or Agent’s employees, agents or independent contractors). Agent shall
         not make any change in the amount of any deductibles or self-insurance amounts prior to the
         Sale Termination Date without Merchant’s prior written consent.

                 12.4 Worker’s Compensation Insurance. Merchant shall, at all times while any
         employees are in its employ, maintain in full force and effect workers’ compensation insurance
         (including employer liability insurance) in compliance with all statutory requirements.

         Section 13. Purchaser’s Security Interest.

         Subject to Agent’s obligation to pay Expenses and fund the Wind-Down Payment:

                            (a) Upon the occurrence of the Closing, and solely to the extent that any
         Assets or Proceeds are, notwithstanding the Approval Order, subsequently determined to
         constitute property of Merchant’s estate, Purchaser shall have a senior lien on all Assets and
         Proceeds, which lien shall be deemed by the Approval Order to be automatically perfected. The
         Approval Order shall grant Purchaser relief from the automatic stay, and nothing in the Approval
         Order shall inhibit Purchaser’s ability, to take any action Purchaser deems appropriate to perfect
         such lien.

                         (b)     Upon the occurrence of the Closing and until all Assets have been sold or
         otherwise disposed of, and solely to the extent that any Assets or Proceeds are, notwithstanding
         the Approval Order, subsequently determined to constitute property of Merchant’s estate,
         Purchaser shall have a superpriority administrative expense claim against Merchant to the extent
         of any amounts owing from Merchant to Purchaser in connection with this Agreement, including
         as a result of any breach of this Agreement.

         Section 14. Designation Rights.

                 14.1       Lease/Contract Designation Rights.

                              Upon the occurrence of the Closing and until the earlier to occur of (i) the
                            (a)
         end of the Designation Rights Period applicable to a particular Lease or Contract and (ii) the
         Designation Rights Termination Date, Purchaser shall have the exclusive right to designate the
         assignees of Merchant’s right, title, and interest in and to any or all of the Leases and Contracts
         (the “Lease/Contract Designation Rights”) upon the terms and conditions agreed upon between
         Purchaser and such designee.
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                            (b)  Merchant shall cooperate reasonably with Purchaser to arrange for the sale
         and assignment of the Leases and Contracts, with such sale and assignment to be on such terms
         as Purchaser deems acceptable in its sole and absolute discretion. Without limiting the
         generality of the foregoing, Merchant agrees (1) to provide Purchaser with all due diligence
         materials and information as Purchaser shall reasonably request in connection with its efforts to
         market and attempt to sell the Leases and Contracts (including complete copies thereof and any
         abstracts prepared with respect thereto, and all communications with the counterparties
         thereunder, all property surveys, all environmental reports and tax and utility records), with
         Purchaser to bear all reasonable third party out-of-pocket costs and expenses relating thereto, in
         all cases to the extent reasonably available to Merchant, and (2) to cooperate with Purchaser, its
         agents, and any potential purchasers of any of the Leases and/or Contracts.

                            (c)Solely to the extent requested by Purchaser, Merchant shall exercise
         renewal and/or extension options under the Leases and Contracts.

                            (d)  At any time prior to the earlier to occur of (i) the end of the Designation
         Rights Period applicable to a particular Lease or Contract and (ii) the Designation Rights
         Termination Date, Purchaser shall have the right, which right may be exercised at any time and
         from time to time, to file a Lease/Contract Assumption Notice in the Bankruptcy Cases
         designating the assignee (which may in certain circumstances be Purchaser, any of the entities
         comprising Purchaser, any of their respective affiliates, and/or a new entity created by any of the
         foregoing) of one or more Leases and/or Contracts (which may occur without further order of the
         Bankruptcy Court pursuant to the Approval Order) and setting forth the proposed cure amount
         due pursuant to section 365 of the Bankruptcy Code. The Approval Order shall provide that (a)
         the counterparties to the Leases or Contracts identified in any Lease/Contract Assumption Notice
         shall have twenty-one days to object to the proposed assumption and assignment, (b) if no
         objection to the proposed assumption and assignment of a Lease or Contract is timely received,
         such Lease or Contract shall, upon payment of the applicable cure payment, if any, to the
         applicable counterparty, automatically be deemed assumed by Merchant and assigned to the
         assignee identified in the Lease/Contract Assumption Notice pursuant to section 365 of the
         Bankruptcy Code, without further order of the Bankruptcy Court or further action by any person
         or entity, and (c) if an objection to the proposed assumption and assignment of a Lease or
         Contract is timely received, such Lease or Contract shall not be assumed or assigned until such
         objection is resolved by agreement of the applicable counterparty or order of the Bankruptcy
         Court.

                            (e)The designee under any Lease/Contract Assumption Notice shall be
         required, if requested by the applicable counterparty, to provide adequate assurance of future
         performance with respect to such Lease or Contract if the applicable counterparty so requests.

                            (f)Merchant shall have no responsibility for any cure amounts with respect to
         any Lease or Contract assumption and assignment.

                 14.2       Asset Designation Rights.

                      (a)     Upon the occurrence of the Closing, Agent shall have the exclusive right
         to market and sell, and/or otherwise designate the purchasers, licensees, transferees, and/or
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         assignees of (which may in certain circumstances be Purchaser, any of the entities comprising
         Purchaser, any of their respective affiliates, and/or a new entity created by any of the foregoing),
         any or all of the Assets free and clear of all liens, claims, and encumbrances thereon, without
         further order of the Bankruptcy Court (the “Asset Designation Rights”). Subject to Agent’s
         payment obligations hereunder, Agent is authorized to execute, in the name of and as agent for
         Merchant, any and all deeds, bills of sale, and other instruments or documents necessary to
         effectuate the sale, transfer, or other conveyance of any of the Assets.

                            (b)  Pursuant to the Approval Order, the sale or other conveyance of any
         Assets reflected in Asset Designation Notices filed in the Bankruptcy Cases from time to time by
         the Agent shall be automatically effective on the date reflected in the applicable Asset
         Designation Notice and subject to the satisfaction of any closing conditions reflected therein, and
         the sale, license, transfer, or other conveyance of such Assets shall be free and clear of all liens,
         claims, and encumbrances without further order of the Bankruptcy Court, provided, however,
         that nothing in the Approval Order shall inhibit the ability of Agent to seek other or further
         orders of the Court in connection with the sale or other disposition of any Assets.

                        (c)    Except to the extent provided for by the Wind-Down Budget, the costs of
         maintaining the Assets available for marketing and sale shall constitute Expenses. All costs of
         effectuating assumption and assignment shall be deemed an Expense hereunder.

         Section 15. Miscellaneous.

                 15.1 Signage. On April 5, 2018, the Merchant purchased the signage, exclusive of
         freight, required for the Sale as set forth on Exhibit 15 directly from the sign vendor. The
         signage shall be delivered to the Stores so as to be received in accordance with Agent’s
         instructions on or before the Sale Commencement Date. Upon entry of the Approval Order and
         simultaneous with the funding of the Cash Purchase Price, the Agent shall reimburse Merchant
         for one hundred percent (100%) of Merchant’s actual (without mark-up or lift) documented out
         of pocket costs in an amount not to exceed $3,000,000 and shall directly pay as an Expense the
         freight costs associated with shipping such signage to the Stores.

               15.2 Notices. All notices and communications provided for pursuant to this
         Agreement shall be in writing and sent by electronic mail, as follows:

                                  If to Merchant:

                                  The Bon-Ton Stores, Inc.
                                  2801 East Market Street
                                  York, PA 17402
                                  Attention:

                                  With copies (which shall not constitute notice) to:

                                  Malfitano Partners
                                  Joseph A. Malfitano, PLLC
                                  747 Third Ave., 2nd Floor
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                               New York, NY 10017
                               Attn: Joseph A. Malfitano (jm@malfitanopartners.com)

                               If to Purchaser:
                               GA Retail, Inc.
                               Attn: Scott Carpenter (scarpenter@greatamerican.com)
                                       Alan Forman (aforman@brileyfin.com)

                                 and

                               Tiger Capital Group, LLC
                               Attn: Christopher Huber (chuber@tigergroup.com)
                                      Mark Naughton (mnaughton@tigergroup.com)

                                  and

                               Wilmington Savings Fund Society, FSB
                               Attn: Patrick J. Healy (phealy@wsfsbank.com)

                               With copies (which shall not constitute notice) to:

                               Lowenstein Sandler LLP
                               Counsel to Great American Group WF LLC
                               Attn: Kenneth A. Rosen (krosen@lowenstein.com)
                                     Andrew Behlmann (abehlmann@lowenstein.com)

                                  and

                               Kilpatrick Townsend & Stockton LLP
                               Counsel to WSFS
                               Attn: David Posner (dposner@kilpatricktownsend.com)

                                  and

                               Jones Day
                               Counsel to Second Lien Noteholders
                               Attn: Sidney P. Levinson (slevinson@jonesday.com)
                                      Joshua M. Mester (jmester@jonesday.com)
                                      John Kane (jkkane@jonesday.com)

                 15.3 Governing Law/Exclusive Jurisdiction. This Agreement shall be governed by and
         interpreted in accordance with the laws of the State of Delaware without reference to any conflict
         of laws provisions thereof, except where governed by the Bankruptcy Code. Each of the Parties
         irrevocably and unconditionally submits, for itself and its properties, to the exclusive jurisdiction
         of the Bankruptcy Court, in any action or proceeding arising out of or relating to this Agreement.


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                15.4 Amendments. This Agreement may not be modified except in a written
         instrument executed by all of the Parties, provided that any amendment or modification to
         Section 3.1(f) or 11.2(f) shall require the consent of the Committee.

                 15.5 No Waiver. No consent or waiver by any Party, express or implied, to or of any
         breach or default by the other in the performance of its obligations hereunder shall be deemed or
         construed to be a consent or waiver to or of any other breach or default in the performance by
         such other Party of the same or any other obligation of such Party. Failure on the part of any
         Party to complain of any act or failure to act by the other Party or to declare the other Party in
         default, irrespective of how long such failure continues, shall not constitute a waiver by such
         Party of its rights hereunder.

                15.6 Currency. All reference to dollars in this Agreement and all schedules, exhibits,
         and ancillary documents related to this Agreement shall refer to U.S. dollars.

                  15.7 Successors and Assigns. This Agreement shall inure to the benefit of and be
         binding upon the Parties and their respective successors and assigns, including, but not limited
         to, any chapter 11 or chapter 7 trustee; provided, however, that this Agreement may not be
         assigned by any of the Parties without the prior written consent of the other, provided further that
         notwithstanding the foregoing, GA and Tiger may each collaterally assign this Agreement and
         their rights thereunder to their respective lenders.

                 15.8 Execution in Counterparts. This Agreement may be executed in one or more
         counterparts. Each such counterpart shall be deemed an original but all such counterparts
         together shall constitute one and the same agreement. This Agreement, to the extent signed and
         delivered by means of a facsimile machine, electronic mail, or other electronic transmission in
         which the actual signature is evident, shall be treated in all manner and respects as an original
         agreement or instrument and shall be considered to have the same binding legal effect as if it
         were the original signed version thereof delivered in person. At the request of any Party, each
         other Party shall re-execute original forms hereof and deliver them to all other Parties. No Party
         shall raise the use of a facsimile machine, electronic mail, or other electronic transmission in
         which the actual signature is evident to deliver a signature or the fact that any signature or
         agreement or instrument was transmitted or communicated through the use of a facsimile
         machine, electronic mail or other electronic transmission in which the actual signature is evident
         as a defense to the formation of a contract and each Party forever waives such defense. In
         proving this Agreement, it shall not be necessary to produce or account for more than one such
         counterpart signed by the Party against which enforcement is sought.

                 15.9 Section Headings. The headings of sections of this Agreement are inserted for
         convenience only and shall not be considered for the purpose of determining the meaning or
         legal effect of any provisions hereof.

                15.10 Wiring of Funds. All amounts required to be paid under any provision of this
         Agreement shall be made by wire transfer of immediately available funds no later as 2:00 p.m.
         (Eastern Time) on the date that such payment is due, so long as all information necessary to
         complete the wire transfer has been received by the payor by 10:00 a.m. (Eastern Time) on the

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         date that such payment is due. In the event that the date on which any such payment is due is not
         a business day, then such payment shall be made by wire transfer on the next business day.

                 15.11 Deposit. Pursuant to the Bidding Procedures, Agent has provided a cash deposit
         in the amount of $32,700,000 (the “Deposit”), which is being held in escrow by co-counsel to
         Merchant, Young Conaway Stargatt & Taylor, LLP (the “Escrow Agent”). At the closing, the
         Deposit shall be released from escrow by the Escrow Agent and applied to the Cash Purchase
         Price. In the event the Closing fails to occur, then, only upon entry of a final and non-appealable
         order of the Bankruptcy Court determining that such failure was the result of Purchaser’s sole,
         material, non-excusable breach of this Agreement, then Merchant shall be entitled to retain the
         Deposit as liquidated damages as Merchant’s sole remedy for such breach.

                  15.12 Nature of Remedies. No failure to exercise and no delay in exercising, on the part
         of the Agent, any right, remedy, power, privilege or adjustment hereunder, shall operate as a
         waiver thereof; nor shall any single or partial exercise of any right, remedy, power, privilege, or
         adjustment hereunder preclude any other or further exercise thereof or the exercise of any other
         right, remedy, power, privilege, or adjustment.

                 15.13 Entire Agreement. This Agreement contains the entire agreement between the
         Parties with respect to the transactions contemplated hereby and supersedes and cancels all prior
         agreements, including, but not limited to, all proposals, letters of intent or representations,
         written or oral, with respect thereto

                 15.14 Agent/Purchaser. Each party hereto acknowledges and agrees that any payment
         obligation of Purchaser and Agent hereunder is binding upon both the Agent and Purchaser and
         they shall be jointly and severally responsible therefor. Any action permitted under this
         Agreement to be taken by Purchaser may be undertaken by Agent on behalf of all entities
         comprising Purchaser, subject to any agreements between or among the entities comprising
         Purchaser, the Second Lien Noteholders, or any of them.




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                IN WITNESS WHEREOF, the Parties hereby execute this Agreement by their respective
         duly authorized representatives as a sealed instrument as of the day and year first written above.



                                                 GA RETAIL, INC.

                                                 By:

                                                 Name:

                                                 Its:



                                                 TIGER CAPITAL GROUP, LLC

                                                 By:

                                                 Name:

                                                 Its:



                                                 WILMINGTON SAVINGS FUND SOCIETY, FSB

                                                 As Successor Trustee and Collateral Agent for the
                                                 Second-Lien Notes

                                                 By:

                                                 Name:

                                                 Its:



                                                 THE BON-TON STORES, INC., on behalf of itself
                                                 and the other entities comprising Merchant

                                                 By:

                                                 Name:

                                                 Its:




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                                              List of Exhibits


         Exhibit 1(a)(1)      Stores
         Exhibit 1(a)(2)      Distribution Centers
         Exhibit 1(d)         Owned Real Estate
         Exhibit 1(e)         Intellectual Property
         Exhibit 2(b)(iv)     Form of Asset Designation Notice
         Exhibit 2(b)(xiii)   Form of Lease/Contract Assumption Notice
         Exhibit 3.1(c)       Wind-Down Budget
         Exhibit 4.1(c)       Per Store, Per Diem Occupancy Expenses.
         Exhibit 8.1          Sale Guidelines




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The Bon-Ton Stores, Inc.
Exhibit 1 (a) (1)
Full Company Liquidation Stores Closing List



                                                                         Store List




Store #               Store Name                      Address                            City            State            Zip    Selling Sq Ft

           2 Hanover                 400 Eisenhower Drive                     Hanover               PA            17331                 71,636
           4 Lewistown               111 East Market Street                   Lewistown             PA            17044                 46,660
           5 Martinsburg             800 Foxcroft Avenue                      Martinsburg           WV            25401                 65,780
           6 Chambersburg            100 Chambersburg Mall                    Chambersburg          PA            17201                 55,621
           7 Park City Furn          870 Plaza Boulevard                      Lancaster             PA            17601                 32,000
           8 Park City               600 Park City Center                     Lancaster             PA            17601                178,967
          12 Cumberland              1262 Vocke Rd                            LaVale                MD            21502                 75,134
          14 Galleria                2899 Wh teford Road, Ste 282             York                  PA            17402                131,915
          15 Uniontown               1800 Mall Run Road                       Uniontown             PA            15401                 80,511
          17 Indiana                 2334 Oakland Avenue Suite 35             Indiana               PA            15701                 60,465
          18 Warren                  4000 Market Street                       Warren                PA            16365                 50,070
          19 Wilton                  3065 Route 50                            Saratoga Springs      NY            12866                 71,740
          21 Oil C ty                6945 US 322                              Cranberry             PA            16319                 45,168
          22 Br ck                   80 Brick Plaza                           Brick                 NJ            08723                 53,500
          25 Binghamton              601-635 Harry L Dr.                      Johnson City          NY            13790                 81,112
          27 Williamsport            300 Lycoming Mall Circle                 Pennsdale             PA            17756                 60,952
          28 Bloomsburg              225 Columbia Mall Drive                  Bloomsburg            PA            17815                 46,060
          29 Queensgate              2081 Springwood Road                     York                  PA            17403                114,608
          31 Camp Hill               3525 Gettysburg Road                     Camp Hill             PA            17011                145,200
          32 Colonial Park           4600 Jonestown Road                      Harrisburg            PA            17109                136,540
          35 Reading                 1665 State Hill Road                     Wyomissing            PA            19610                159,368
          36 Greensburg              5256 Rt 30                               Greensburg            PA            15601                100,003
          37 Washington              1500 W. Chestnut Street                  Washington            PA            15301                 78,129
          38 Midway                  1066 Wyoming Avenue                      Wyoming               PA            18644                 66,026
          39 Wilkes-Barre            14 Wyoming Valley Mall                   Wilkes-Barre          PA            18702                159,454
          43 Newburgh                1401 Route 300 Ste 139                   Newburgh              NY            12550                 61,785
          44 Ithaca                  40 Catherwood Road                       Ithaca                NY            14850                 62,225
          46 Jamestown               318 E. Fairmount Avenue                  Lakewood              NY            14750                 59,860
          48 Westfield               443 E. Main Street                       Westfield             MA            01085                 74,939
          62 Eastern Hills           4545 Transit Road                        Williamsville         NY            14221                151,208
          63 Sheridan                1706 Sheridan Drive                      Buffalo               NY            14223                124,284
          64 Southgate               1090 Union Road                          West Seneca           NY            14224                100,500
          65 McKinley                3701 McKinley Parkway                    Blasdell              NY            14219                 97,204
          67 Lockport                5737 S. Transit Road                     Lockport              NY            14094                 82,000
          68 Olean                   402 N. Union Street                      Olean                 NY            14760                 73,017
          69 Niagara                 6929 Williams Road                       Niagara Falls         NY            14303                 88,128
          72 Bethlehem               2524 Schoenersville Road                 Bethlehem             PA            18017                108,650
          73 S. Allentown            3300 Lehigh Street                       Allentown             PA            18103                101,841
          76 Easton                  146 Palmer Park Mall                     Easton                PA            18045                115,062
          78 Quakertown              751 SW End Blvd.                         Quakertown            PA            18951                 88,126
          81 Doylestown              456 North Main Street                    Doylestown            PA            18901                 61,915
          84 Elmira                  3300 Chambers Road South, Ste. 50        Horseheads            NY            14845                 74,752
          94 Camillus                5301 W. Genesee Street                   Camillus              NY            13031                 64,700
      101 Dayton Mall                2700 St. Rt. 725                         Dayton                OH            45459                212,000
      107 Huber Heights              8221 Old Troy Pike                       Huber Heights         OH            45424                101,840
      115 Beavercreek                2727 Fairfield Commons                   Beavercreek           OH            45431                151,740
      117 Piqua                      987 E. Ash Street                        Piqua                 OH            45356                 60,000
      118 Athens                     1004 E. State Street                     Athens                OH            45701                 42,253
      119 New Philadelphia           400 Mill Avenue, Ste. C3                 New Philadelphia      OH            44663                 73,310
      121 Kettering                  2050 E. Dorothy Lane                     Dayton                OH            45420                 87,317
      125 Lancaster                  1730 River Valley Circle S.              Lancaster             OH            43130                 52,725
      126 Heath                      771 S. 30th Street                       Newark                OH            43056                 73,185
      128 Zanesville                 3575 Maple Avenue                        Zanesville            OH            43701                 70,847
      129 Marion                     1475 Marion Waldo Road                   Marion                OH            43302                 75,673
      130 Chillicothe                1080 N. Br dge Street                    Chillicothe           OH            45601                 55,940
      132 Richmond                   601 East Main St.                        R chmond              IN            47374                100,000
      137 Sandusky                   4314 Milan Road                          Sandusky              OH            44870                 80,398




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The Bon-Ton Stores, Inc.
Exhibit 1 (a) (1)
Full Company Liquidation Stores Closing List



                                                                         Store List




Store #            Store Name                          Address                            City          State            Zip    Selling Sq Ft

      138 Plover                  1780 Plover Road                            Plover               WI            54467                 54,564
      140 Kohler                  4030 Hwy #28                                Sheboygan Falls      WI            53085                 54,541
      142 West Bend               1291 W. Paradise Road                       West Bend            WI            53095                 61,011
      143 Coldwater               373 N. Willowbrook Rd. Suite Z              Coldwater            MI            49036                 54,146
      144 Alliance                Carnation Mall, 2500 W. State Street        Alliance             OH            44601                 55,552
      147 Wooster                 4095 Burbank Road                           Wooster              OH            44691                 53,446
      148 Morgantown              9550 Mall Road                              Morgantown           WV            26501                 71,032
      150 Warsaw                  2856 Frontage Road                          Warsaw               IN            46580                 80,320
      151 Frankfort               202 Limestone Drive                         Frankfort            KY            40601                 53,954
      152 Findlay                 1800 Tiffin Avenue                          Findlay              OH            45840                 74,841
      153 Bowling Green           1234 N Main Street                          Bowling Green        OH            43402                 40,000
      154 Howell                  3599 E. Grand River Avenue                  Howell               MI            48843                 72,873
      155 Westgate                3311 Secor Road                             Toledo               OH            43606                154,000
      159 Monroe                  2121 Monroe Street                          Monroe               MI            48161                 99,363
      161 Midland                 6830 Eastman Avenue                         M dland              MI            48642                 64,141
      163 Jackson                 1826 W. Michigan Avenue                     Jackson              MI            49202                 70,425
      173 Muscatine               1903 Park Avenue                            Muscatine            IA            52761                 43,906
      175 Mattoon                 700 Broadway Avenue E                       Mattoon              IL            61938                 54,266
      178 Jasper                  3875 Newton Street                          Jasper               IN            47546                 55,238
      179 Terre Haute             3401 US Hwy 41 S                            Terre Haute          IN            47802                 70,380
      182 Muncie                  3501 N. Granville Avenue                    Muncie               IN            47303                 80,000
      184 Kokomo                  1156 South 17th Street                      Kokomo               IN            46902                 60,135
      186 Green Bay Furn          201 Bay Park Square                         Green Bay            WI            54304                 53,265
      189 Southtown               2400 State Route 725                        Dayton               OH            45459                 54,848
      199 Fort Wayne              4201 Coldwater Road                         Fort Wayne           IN            46805                122,000
      203 Clarksburg              2700 Meadowbrook Mall                       Bridgeport           WV            26330                124,285
      205 Ashland                 10699 US Route 60                           Ashland              KY            41102                 70,000
      206 Kanawha                 5700 MacCorkle Avenue SE                    Charleston           WV            25304                 80,000
      209 Winfield                200 Liberty Sq. Shopping Center             Hurricane            WV            25526                 70,476
      310 St Cloud                600 W St. Germain St.                       St. Cloud            MN            56301                 93,900
      311 Virginia                1440 S 12th Avenue                          Virginia             MN            55792                 66,582
      312 Rice Lake               2900 South Main                             R ce Lake            WI            54868                 54,661
      313 Fergus Falls            2001 West Lincoln Avenue Ste. 2             Fergus Falls         MN            56537                 39,536
      314 New Ulm                 110 N Minnesota Street                      New Ulm              MN            56073                 47,277
      315 Watertown               1300 9th Avenue SE                          Watertown            SD            57201                 40,320
      316 Alexandria              3015 Hwy 29 S Ste. 4037                     Alexandria           MN            56308                 70,314
      317 Havre                   1753 Highway 2 NW                           Havre                MT            59501                 47,161
      318 LaCrosse                4000 State Road 16                          LaCrosse             WI            54601                 41,344
      319 Albert Lea              2440 Bridge Avenue                          Albert Lea           MN            56007                 64,436
      320 Moorhead                420 Center Ave, Ste. 1                      Moorhead             MN            56560                106,150
      321 Bismarck                641 Kirkwood Mall                           Bismarck             ND            58506                 92,500
      323 Brainerd                14136 Baxter Drive Ste. 1                   Baxter               MN            56425                 82,879
      325 Billings                300 S 24th Street W, Ste. E100              Billlings            MT            59102                 60,224
      326 Ottumwa                 1110 Quincy Ave                             Ottumwa              IA            52501                 55,282
      327 Great Falls             1200 10th Avenue South                      Great Falls          MT            59405                 70,000
      328 Rap d City              2200 N Maple Avenue                         Rapid C ty           SD            57701                 88,977
      329 Rock Springs            2445 Foothill Blvd.                         Rock Springs         WY            82901                 60,018
      330 Dickinson               Prairie Hills Mall                          Dickinson            ND            58601                 42,980
      331 Minot                   2400 10th Street SW                         Minot                ND            58701                 52,468
      332 Willmar                 1605 S. 1st. Street                         Willmar              MN            56201                 88,701
      334 Norfolk                 1700 Market Lane                            Norfolk              NE            68701                 77,365
      335 Hastings                3001 W 12th Ste. 4                          Hastings             NE            68901                 52,950
      336 North Platte            1100 South Dewey                            North Platte         NE            69101                 43,500
      338 Kearney                 4915 2nd Avenue                             Kearney              NE            68847                 87,500
      339 Scottsbluff             2302 Frontage Road Box 29                   Scottsbluff          NE            69361                 72,699
      340 Kalispell               20 North Main                               Kalispell            MT            59901                 80,000
      341 Blaine                  301 Northtown Dr.                           Blaine               MN            55434                130,722




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The Bon-Ton Stores, Inc.
Exhibit 1 (a) (1)
Full Company Liquidation Stores Closing List



                                                                      Store List




Store #            Store Name                       Address                            City          State            Zip    Selling Sq Ft

      342 Stillwater              2001 Washington Avenue                   Stillwater           MN            55082                 95,360
      343 Aberdeen                3315 6th Avenue Southeast Ste. 2         Aberdeen             SD            57401                 79,668
      344 Grand Junction          2424 US Highway 6 & 50                   Grand Junct on       CO            81505                 72,279
      345 Mankato                 1850 Adams Street                        Mankato              MN            56001                 71,046
      348 Bemidji                 1401 Paul Bunyan Drive NW                Bemidji              MN            56601                 56,392
      349 Butte                   3100 Harrison Avenue Ste. 5              Butte                MT            59701                 65,000
      351 Missoula                2901 Brooks Avenue                       Missoula             MT            59801                 45,167
      352 Fargo                   3902 13th Avenue South                   Fargo                ND            58103                103,200
      353 Rosedale                1675 West Highway 36                     Roseville            MN            55113                149,908
      354 Midway                  1400 University Avenue West              St. Paul             MN            55104                124,136
      355 Southtown               7831 Southtown Center                    Bloomington          MN            55431                133,103
      356 Edina                   300 Southdale Center                     Edina                MN            55435                143,608
      357 Rochester               1201 SW 12th Street                      Rochester            MN            55902                 78,130
      401 Ames                    2801 N Grand Ave                         Ames                 IA            50010                 49,888
      402 Mason C ty              102 S Delaware Avenue                    Mason City           IA            50401                 59,500
      403 Fort Dodge              217 S. 25th St., Ste 33                  Fort Dodge           IA            50501                 54,179
      404 Marshalltown            2500 S Center Street                     Marshalltown         IA            50158                 42,142
      406 Oak View                3201 S 144th Street                      Omaha                NE            68144                149,326
      408 Waterloo                2060 Crossroads Blvd.                    Waterloo             IA            50702                 86,781
      409 Austin                  1405 18th Avenue NW                      Austin               MN            55912                 45,277
      410 Merle Hay               3800 Merle Hay Road Ste. 100             Des Moines           IA            50310                165,000
      412 Coralville              1421 Coral Ridge Avenue                  Coralville           IA            52241                 98,458
      413 Lindale Plaza           4444 1st Avenue NE                       Cedar Rapids         IA            52404                100,000
      414 Jordan Creek            101 Jordan Creek Parkway, #6000          West Des Moines      IA            50265                159,673
      418 Dubuque                 555 John F. Kennedy Road                 Dubuque              IA            52002                126,839
      419 Westroads               707 N 102nd                              Omaha                NE            68114                171,800
      421 Davenport               320 W Kimberly Road                      Davenport            IA            52806                104,913
      422 Moline                  4600 16th Street                         Moline               IL            61265                107,145
      423 Southridge              1111 E Army Post Road, Ste. 2003         Des Moines           IA            50315                105,183
      424 Sioux Falls             3500 W Empire Mall                       Sioux Falls          SD            57106                105,292
      429 Southern Hills          4380 Sergeant Road                       Sioux C ty           IA            51106                 92,695
      430 West Burlington         550 S Gear Avenue                        West Burlington      IA            52655                 66,705
      432 Eau Claire              4850 Golf Road                           Eau Claire           WI            54701                102,000
      437 Valley West             1551 Valley West Drive Ste. 200          West Des Moines      IA            50266                205,248
      438 Muskegon                5580 Harvey Street                       Muskegon             MI            49444                106,131
      439 Sturgeon Bay            58 N 3rd Avenue                          Sturgeon Bay         WI            54235                 60,000
      440 Grandville              3668 Rivertown Parkway                   Grandville           MI            49418                150,081
      443 Traverse City           1776 Garfield Road                       Traverse C ty        MI            49684                 49,666
      445 Lansing                 5220 W Saginaw Highway                   Lansing              MI            48917                103,000
      447 Lincoln                 3 Gateway Mall                           Lincoln              NE            68505                100,000
      448 Marshfield              503 E Ives Street                        Marshfield           WI            54449                 48,295
      449 Duluth                  1600 Miller Trunk Highway                Duluth               MN            55811                140,999
      451 Grand Island            3404 W 13th Street                       Grand Island         NE            68801                 60,081
      457 Bay Park                101 Bay Park Square                      Green Bay            WI            54304                145,672
      463 Holland                 12331 James Street                       Holland              MI            49424                 69,148
      464 Okemos                  1982 W Grand River Avenue                Okemos               MI            48864                168,757
      465 Port Huron              4450 24th Avenue                         Fort Gratiot         MI            48060                 70,536
      475 Bay City                4131 E Wilder Road                       Bay C ty             MI            48706                110,536
      501 Bloomington             1601 Empire St.                          Bloomington          IL            61701                131,606
      502 LaSalle Peru            3940 Route 251 Ste 01                    Peru                 IL            61354                 87,500
      503 Pekin                   3536 Court St.                           Pekin                IL            61554                 82,100
      504 Champaign               2000 North Neil St.                      Champaign            IL            61820                154,302
      505 Galesburg               1150 W. Carl Sandburg Dr.                Galesburg            IL            61401                 84,894
      507 Quincy                  3347 Broadway                            Quincy               IL            62301                106,400
      508 Forsyth                 1005 Hickory Point Mall                  Forsyth              IL            62535                125,455
      510 Janesville              2500 Milton Avenue                       Janesville           WI            53545                 96,000
      511 Sterling                2900 E. Lincolnway                       Sterling             IL            61081                 60,000




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The Bon-Ton Stores, Inc.
Exhibit 1 (a) (1)
Full Company Liquidation Stores Closing List



                                                                    Store List




Store #            Store Name                         Address                       City           State            Zip    Selling Sq Ft

      512 Cherryvale                7200 Harrison Avenue                 Rockford             IL            61112                128,330
      515 Joliet                    3340 Mall Loop Drive                 Joliet               IL            60435                128,000
      516 Spring Hill               4000 Spring Hill Ring Rd             Dundee               IL            60118                128,000
      517 Randhurst                 1025 Center Dr.                      Mount Prospect       IL            60056                205,056
      518 White Oaks                2501 W. Wabash                       Springfield          IL            62704                125,000
      519 Milwaukee Grand Ave       331 W Wisconsin Avenue               Milwaukee            WI            53203                124,055
      520 Bayshore                  5701 N Lydell Avenue                 Glendale             WI            53217                167,606
      521 Racine                    5500 Durand Avenue                   Racine               WI            53406                106,157
      522 Brookfield                15875 W Bluemound Road               Brookfield           WI            53005                218,705
      523 Southridge                5300 S 76th Street                   Greendale            WI            53129                221,000
      526 East Towne                53 East Towne Mall                   Madison              WI            53704                138,755
      527 Mayfair                   2400 N Mayfair Road                  Wauwatosa            WI            53226                210,713
      528 West Towne                36 West Towne Mall                   Madison              WI            53719                139,580
      529 Brookfield Furniture      18615 W Bluemound Road               Brookfield           WI            53045                 55,000
      530 Evergreen                 9700 S Western Ave                   Evergreen Park       IL            60805                120,000
      531 Yorktown                  230 Yorktown Shopping Center         Lombard              IL            60148                217,887
      532 Woodmar                   6600 Indianapolis Blvd.              Hammond              IN            46320                111,080
      533 Edens Plaza               3200 Lake Avenue                     Wilmette             IL            60091                160,578
      535 Stratford Square          4 Stratford Square                   Bloomingdale         IL            60108                147,116
      538 Chicago Ridge             9800 S Ridgeland Ave                 Ch cago Ridge        IL            60415                154,241
      539 Harlem Irving             4200 N Harlem Avenue                 Norridge             IL            60706                168,058
      541 North Riverside           7505 W Cermak Road                   North Riverside      IL            60546                180,550
      542 Southlake                 1995 Southlake Mall                  Merrillville         IN            46410                144,123
      543 Orland Square             4 Orland Square                      Orland Park          IL            60462                163,370
      546 Yorktown Furniture        2 Yorktown Mall Drive                Lombard              IL            60148                 45,708
      547 Edens Furniture           3232 Lake Avenue                     Wilmette             IL            60091                 34,830
      548 Schaumburg Furn ture      830 E Golf Road                      Schaumburg           IL            60173                 58,525
      549 Michigan City             305 W US Highway 20                  M chigan City        IN            46360                 81,420
      550 Hawthorn                  3 Hawthorne Center                   Vernon Hills         IL            60061                112,121
      551 Ford City                 7601 S Cicero Avenue                 Ch cago              IL            60652                155,513
      552 Lincolnwood               3333 Touhy Avenue                    Lincolnwood          IL            60712                122,650
      553 Bradley                   1602 N State IL- 50                  Bourbonnais          IL            60914                142,200
      554 St Charles                3850 E Main Street                   St. Charles          IL            60174                141,808
      555 Hawthorn Furniture        480 East Ring Road                   Vernon Hills         IL            60540                 46,290
      556 Fox Valley                3 Fox Valley Center                  Aurora               IL            60505                131,267
      561 Orland Park Furniture     66 Orland Square Drive               Orland Park          IL            60462                 71,783
      563 Grand Prairie             5203 W. War Memorial Drive           Peoria               IL            61615                181,238
      571 Laurel Park               17624 Newburgh Rd                    Livonia              MI            48152                148,800
      572 Rochester Hills           400 N.Adams St.                      Rochester Hills      MI            48309                121,380
      573 Partridge Creek           17480 Hall Rd.                       Clinton Township     MI            48038                116,254
      579 Naperville Frn Clear.     1835 W. Jefferson                    Naperville           IL            60540                 30,000
                                                                                                            Count: 212




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The Bon-Ton Stores, Inc.
Exhibit 1 (a) (2)
Distribution Centers



                                                                      Store List




Store #            Store Name                      Address                            City        State           Zip   Selling Sq Ft

          50 Whitehall - DC         3585 South Church St                   Whitehall         PA           18052                    n/a
      198 Fairborn - DC             1340 E Dayton Yellow Springs Rd        Fairborn          OH           45324                    n/a
      460 West Jefferson - DC       115 Enterprise Parkway                 West Jefferson    OH           43162                    n/a
      950 Rockford - DC             4650 Shepherd Trail                    Rockford          IL           61103                    n/a
                                                                                                          Count: 4




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The Bon-Ton Stores, Inc.
Exhibit 1 (d)
Owned Real Estate



                                                                                   Store List
Store #       Banner                    Store Name                       Address                              City        State           Zip   Selling Sq Ft

            4 Bon-Ton          Lewistown             111 East Market Street                        Lewistown         PA           17044                   50,000
           31 Bon-Ton          Camp Hill             3525 Gettysburg Road                          Camp Hill         PA           17011                  145,375
           36 Bon-Ton          Greensburg            Westmoreland Mall, 5256 Route 30              Greensburg        PA           15601                   99,800
           67 Bon-Ton          Lockport              5737 South Transit Road                       Lockport          NY           14094                   81,431
          128 Elder-Beerman    Zanesville            3575 Maple Avenue                             Zanesville        OH           43701                   70,847
          132 Elder-Beerman    Richmond              601 East Main Street                          Richmond          IN           47301                  111,350
          310 Herberger's      St. Cloud             600 West Saint Germain Street                 St. Cloud         MN           56301                  168,755
          327 Herberger's      Great Falls           1200 10th Avenue South                        Great Falls       MT           59405                   81,969
          354 Herberger's      Midway                1400 University Avenue                        St. Paul          MN           55104                  124,136
          410 Younkers         Merle Hay             3800 Merle Hay Road, Su te 100                Des Moines        IA           50310                  165,000
          412 Younkers         Coralville            1421 Coral Ridge Avenue                       Coralville        IA           52241                   98,458
          432 Younkers         Eau Claire            4850 Golf Road                                Eau Claire        WI           54701                  102,000
          438 Younkers         Muskegon              5580 Harvey Street                            Muskegon          MI           49444                  106,131
          440 Younkers         Grandville            3668 Rivertown Parkway                        Grandville        MI           49418                  150,081
          449 Younkers         Duluth                1600 Miller Trunk Highway                     Duluth            MN           55811                  140,999
          501 Bergner's        Bloomington           1601 Empire Street                            Bloomington       IL           61701                  131,616
          503 Bergner's        Pekin                 3500 Court Street                             Pekin             IL           61553                   82,100
          508 Bergner's        Forsyth               1005 Hickory Point Mall                       Forsyth           IL           62535                  126,056
          514 Carson's         Aurora Northgate      970 North Lake Street                         Aurora            IL           60506                  119,000
          516 Carson's         Spring Hill           4000 Spring Hill Mall                         Dundee            IL           60118                  128,000
          518 Bergner's        Wh te Oaks            2501 West Wabash                              Springfield       IL           62704                  125,000
          521 Boston Store     Racine                5500 Durand Avenue                            Racine            WI           53406                  106,157
          533 Carson's         Edens Plaza           3200 Lake Avenue                              Wilmette          IL           60091                  155,000
          549 Carson's         Michigan City         305 West US Highway 20                        Michigan C ty     IN           46360                   76,121
          550 Carson's         Hawthorn              3 Hawthorne Center                            Vernon Hills      IL           60061                  112,121
          556 Carson's         Fox Valley            3 Fox Valley Center Drive                     Aurora            IL           60504                  120,000
          572 Carson's         Rochester Hills       400 North Adams Road                          Rochester Hills   MI           48309                   61,233
          573 Carson's         Partridge Creek       17480 Hall Road                               Clinton           MI           48038                  120,000
          590 Carson's         Rockford D.C.         4650 Shepherd Trail                           Rockford -Owned   IL           61103                  520,000
                                                     "Quincy Property"                             Quincy            IL
                                                                                                                                  Count: 30




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The Bon-Ton Stores, Inc.
Exhibit 1 (e)
Intellectual Property

                                                      BON TON ENTITIES TRADEMARKS
          Reg Number                  Serial Number                                   Name                                             Mark
966580                     72435362                                                                              BRECKENRIDGE
1143734                    73159353                                                                              CARSON PIRIE SCOTT
1395289                    73471798                                                                              CARSONS
1332638                    73495705                                                                              ELDER-BEERMAN
1392446                    73543142                               BON-TON STORES, INC., THE                      STUART HUGHES
1397712                    73543145                               THE BON-TON DEPARTMENT STORES, INC.            SUSQUEHANNA TRAIL OUTFITTERS
1526191                    73663359                                                                              PIZZA STRADA
1680687                    74078995                                                                              THE BON-TON
1661242                    74097054                                                                              THE BON-TON
1795407                    74340081                                                                              YOUNKERS
1869666                    74355074                                                                              CEZANI
2006730                    74552885                               Bon-Ton Trade Corp., The                       ANDREA VICCARO
2006731                    74552975                                                                              JENNY BUCHANAN
2001829                    74553100                                                                              CUDDLE BEAR
                                                                  CARSON PIRIE SCOTT II, NC. (F/K/A MCRAE'S,
1935197                    74580597                                                                              MCRAE'S
                                                                  INC.)
2021357                    74638895                                                                              COME TO THE RIGHT PLACE
                                                                  CARSON PIRIE SCOTT II, INC. (F/K/A MCRAE'S,
2217957                    75023572                                                                              NATIONAL BANK OF THE GREAT LAKES
                                                                  INC.)
2015874                    75045762                                                                              JENNY BUCHANAN
2635572                    75348627                                                                              (RELATIVITY)
2385966                    75348885                                                                              LIVING QUARTERS
2278878                    75410193                                                                              HERBERGER'S
2278879                    75410395                               THE BON-TON DEPARTMENT STORES, INC.            HERBERGER'S
2407600                    75441794                                                                              STUDIO WORKS
2493154                    75654658                                                                              LIVING QUARTERS
2412363                    75857375                                                                              CHARGE AGAINST BREAST CANCER
2384258                    75979374                                                                              RELATIVITY
2363348                    75979521                                                                              CONSENSUS
                           76232809                               BON-TON DEPARTMENT STORES, INC.                MADISON & MAX
                                                                  CARSON PIRIE SCOTT II, INC. (F/K/A MCRAE'S,
3447275                    76467824                                                                              SHE SHE LA LÀ
                                                                  INC.)
2856632                    76975745                               THE BON-TON DEPARTMENT STORES, INC.            MADISON & MAX
3292860                    77035952                                                                              PARADISE COLLECTION
3436925                    77055123                                                                              KENNETH ROBERTS PLATINUM
3483180                    77183901                                                                              INTIMATE ESSENTIALS
3528518                    77227149                                                                              EXERTEK
3709384                    77359862                                                                              LITTLE MISS ATTITUDE
                           77364016                               THE BON-TON DEPARTMENT STORES, INC.            AUTHENTIC U
                                                                                                                 CELEBRATIONS REGISTRY FOR VERY SPECIAL
3632950                    77520071
                                                                                                                 OCCASIONS
                                                                                                                 CELEBRATIONS REGISTRY FOR VERY SPECIAL
3628605                    77520170
                                                                                                                 OCCASIONS
3570064                    77553578                                                                              STUDIO WORKS
3666012                    77577377                                                                              BOSTON STORE
3848434                    77630455                                                                              MISS ATTITUDE
3842899                    77814203                                                                              BT JEWELED
3881265                    77836970                                                                              KENNETH ROBERTS
3909131                    77881965                                                                              LIVING QUARTERS
3892546                    77969650                               CARSON PIRIE SCOTT II, INC.                    BERGNER'S
2765740                    78116121                               CARSON PIRIE SCOTT II, INC.                    (RELATIVITY) DESIGN LAB
2934000                    78191055                                                                              MISS ATTITUDE
                                                                  CARSON PIRIE SCOTT II, INC. (F/K/A MCRAE'S,
                           78292100                                                                              PERFECT PIMA
                                                                  INC.)
                           78560181                                                                              MARKET STREET EAST
3217597                    78867113                               THE BON-TON TRADE, LLC                         SUSQUEHANNA TRAIL OUTFITTERS
3022152                    78976395                                                                              BRECKENRIDGE
3069447                    78976644                                                                              CHANTEUSE
                           85108157                               THE BON-TON DEPARTMENT STORES, INC.            CUSTOMER FIRST
4143662                    85194375
4139987                    85225140                                                                              KENNETH ROBERTS
4143891                    85247954                                                                              JB
                           85476397                               THE BON-TON STORES, INC.                       AFFINITY
4259055                    85495083                               THE BON-TON DEPARTMENT STORES, INC.            ZOE&BELLA@BT
4552374                    85715679                               THE BON-TON DEPARTMENT STORES, INC.            CUDDLE BEAR
4357088                    85733613                                                                              ZOE&BELLA @BT
4361044                    85772207                               CARSON PIRIE SCOTT II, INC.                    PARADISE COLLECTION
4507524                    85850871                                                                              STYLE ON THE STREET
4998553                    85920357                                                                              DESIGN DISTRICT
4496279                    85929876                                                                              TRENDÉVOUS
4532638                    86044801
4626285                    86144251                                                                              BEAUTY STATION
4736593                    86261094
4991097                    86433458                                                                              BEAUTY STATION
5191722                    86532617                                                                              CHEF'S QUARTERS
5396972                    86898865                                                                              ZOE&BELLA @BT
5005143                    86979074                                                                              CHEF'S QUARTERS
5135982                    87019592                                                                              SANTA'S PANTRY
                           87063073                                                                              LOVESTYLEREWARDS
                           87063086                               THE BON-TON DEPARTMENT STORES INC.             STYLEREWARDS
                           87368531                                                                              YULETIDE FARMS
                           87416731                                                                              DRESSOBSESSED
                           87418738                                                                              CLOSE TO HOME
                           87471882                                                                              THE BIG GRILL
                           87488334                                                                              MEYEWEAR
                           87492351                                                                              MEYEWEAR
                           87495174                                                                              FASHION TO GO
                           87495186                                                                              STYLE TO GO
                           87497118                                                                              STYLE 2 GO
                           87498911                                                                              FASHION 2 GO
                           87498969                                                                              TRAVEL QUARTERS
                           87505353                                                                              CUDDLE BEAR
                           87528193                                                                              LIVING QUARTERS
                           87535628                                                                              BETTER BRANDS. BIGGER SAVINGS.
                           87537827                                                                              ZOE&BELLA@BT
                           87626265                                                                              ZOE&BELLA@BT
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          Reg Number                                    Serial Number                                      Name                         Mark
                          87667636                                                                                       EO
                          87697689                                                                                       BUZZWORX
                          87706897                                                                                       ZOE&BELLA@BT
                          87748141                                                                                       MATTI & MAX
                          87762369                                                                                       MATTI & MAX



                                                        BON TON ENTITIES COPYRIGHTS
    Registration Number                                      Title                                          Type
TX4880277                 Doing a good business: 100 years at the Bon-Ton                Literary Work
TX1896055                 Elder-Beerman Stores Corporation: a tradition of success       Literary Work
TX5900922                 A tale from Flurryville: the Berg's big surprise               Literary Work
TX5744198                 Wow! what a cow: a tale from funky                             Literary Work
TX5638101                 A tale from Flurryville: Arctic Bart finds his happy heart     Literary Work
TX5658257                 Holiday celebrations with recipes from Younkers                Literary Work
TX6497902                 Baxter shares his bear                                         Literary Work
TX2217381                 Parisian celebrating a century of service                      Literary Work
TX3196448                 Presentation - a manual of standards and guidelines            Literary Work
VA239074                  Riverchase Galleria Parisian grand opening                     Visual Arts
VA81949                   Made in Wisconsin                                              Visual Arts
VA6480                    Cratchits' Christmas dinner                                    Visual Arts
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             Case 18-10248-MFW                Doc 632-1         Filed 04/18/18         Page 53 of 60



                                               Exhibit 3.1(c)
                                         Wind Down Payment Budget

                                                                                            Budget
                  Expense Vendors                                                             $16.2
                  Payroll                                                                      35.5
                  Severance                                                                     3.4
                  Retention                                                                        -
                  IBNR                                                                          4.0
                  Sales Tax                                                                    7.9 1
                  Interest                                                                         -
                                                                                                   2
                  Professional Fees                                                           15.8
                  Contingency                                                                   1.0
                  Stub Rent & Free Rent                                                         8.0
                  503(b)(9)                                                                     2.0
                  Other                                                                            -
                     Total                                                                    $93.8
                  Plus: Severance and Retention in Agent’s
                  Expenses                                                                        5.7
                    Total After Severance and Retention in Agent's
                  Expenses                                                                    $99.5




1
  Reduced to account for the fact that $6 million of sales taxes are already included in the DIP Obligations per email
from J. Guglielmo dated April 17, 2018.
2
  For the avoidance of doubt, the Professional Fees shall be paid, without duplication, either as part of the payoff of
the DIP Obligations or as part of the Wind Down Payment.
The Bon-Ton Stores, Inc.
Exhibit 4.1(c) - Occupancy - Per Diem
Full Company Liquidation Store Closing List
Excludes Distribution Centers


                                                                                                                                 TOTAL - PER DIEM
                                                          Common Area
                                                         Maintenance / LL                                         Building Repair &                                                                                                                                Other
Store #                  Store Name       Base Rent     Property Insurance   Real Estate Taxes   Insurance              Maint.        Occupancy Other   Security        Communications   Utilities         Supplies         Equip. Leases       Eqiup. Maint       Taxes       Total

           2 Hanover                            1,162                   89                362                27                117                20               11              54                194              42                    5                  4      -          2,087
           4 Lewistown                            -                    -                   62                23                 78                21               11              41                133              42                    5                  4      -            419
           5 Martinsburg                          458                   75                -                  35                102                22               18              40                172              52                    6                  4      131        1,115
           6 Chambersburg                         581                   92                 95                22                 80                18               10              48                194              43                    6                  4      -          1,193
           7 Park City Furn                       941                  142                138                12                 62               545               14              42                95               31                    2                  4      -          2,027
           8 Park City                            749                  123              1,597            128                   385                34               28              52           2,023                 275              15                      4      -          5,412
          12 Cumberland                           767                   65                142                31                114                23               20              39                228              74               26                      4       36        1,568
          14 Galleria                           2,918                  146                171                69                279               108               19              54                390              105              12                      4       35        4,308
          15 Uniontown                            893                  111                170                35                121                46               11              44                384              87               10                      4       29        1,944
          17 Indiana                              499                  -                   84                15                100                19               6               42                155              56                    8                  4      -            986
          18 Warren                               305                  -                  -                  21                111                21               10              42                158              37                    6                  4      -            714
          19 Wilton                               722                  120                227                27                129                39               28              38                409              74               12                      4      -          1,829
          21 Oil City                             693                   38                 23                24                113                20               7               50                142              41                    6                  4      -          1,162
          22 Brick                              2,118                  651                507                33                159                59               34              42                254              67                    8                  4      -          3,936
          25 Binghamton                           776                  -                1,222                32                126                21               14              41                247              59                    7                  4      -          2,550
                                                                                                                                                                                                                                                                                         Case 18-10248-MFW




          27 Williamsport                         606                  101                151                24                 95                18               8               44                196              41                    5                  4      -          1,294
          28 Bloomsburg                           455                  -                  -                  19                 86                18               26              39                152              44                    5                  4      -            849
          29 Queensgate                         1,877                  310                450                39                165               166               30              42                320              79               11                      4       19        3,513
          31 Camp Hill                            -                    -                  415                62                461               206               15              52                513              130              10                      6           2     1,872
          32 Colonial Park                        384                  388                295                54                354               110               13              46                443              78                    7                  4      -          2,176
          35 Reading                              902                  162                985                91                302               205               15              44                510              131              11                      4       52        3,415
          36 Greensburg                           -                    126                401                42                262                20               20              50                320              79                    9                  4       11        1,344
          37 Washington                           319                  -                  -                  21                119                16               17              43                219              50                    6                  4       20          832
          38 Midway                               700                  212                225                30                119                27               11              40                194              60                    6                  4      -          1,629
                                                                                                                                                                                                                                                                                         Doc 632-1




          39 Wilkes-Barre                         747                   79                505                55                295               133               13              43                521              106                   9                  4       39        2,549
          43 Newburgh                             939                   52                359                27                102                23               35              39                291              63                    6                  4      -          1,939
          44 Ithaca                             1,085                  147                301            320                   138                24               15              53                244              57                    6                  4      -          2,393
          46 Jamestown                            793                   67                 19                32                 95                22               19              43                220              74               14                      4      -          1,401
          48 Westfield                          1,832                  534                801                57                128                48               16              44                397              94               13                      4           5     3,973
          62 Eastern Hills                      1,320                   54                -                  53                336               269               26              38                319              99               10                      4      -          2,528
          63 Sheridan                             715                  104                 78                47                197               235               38              43                300              85                    7                  4      -          1,851
          64 Southgate                          1,066                  223                242                40                166               190               19              41                249              80                    8                  4      -          2,328
          65 McKinley                           1,038                  177                 95                41                145               143               23              44                203              82                    6                  4      -          2,000
          67 Lockport                             -                    -                  343            115                   340                19               26              47                212              92                    9                  4      -          1,205
          68 Olean                                522                   51                 57                27                108                20               12              42                166              71               12                      4      -          1,092
                                                                                                                                                                                                                                                                                         Filed 04/18/18




          69 Niagara                              772                  314                -                  31                139               118               19              37                262              64                    7                  4      -          1,766
          72 Bethlehem                          1,407                   70                381            182                   223               185               17              42                490              121              25                      4       47        3,194
          73 S. Allentown                       1,191                  300                317                61                186                27               14              40                535              98               12                      4       47        2,830
          76 Easton                               560                   42                299                45                162                68               13              44                400              88               10                      4       26        1,759
          78 Quakertown                           420                  349                296                41                116               164               12              46                324              89               10                      4           1     1,873
          81 Doylestown                         1,668                  234                139                52                125                23               30              43                230              174              17                      4           1     2,739
          84 Elmira                               531                  105                209                24                102                65               25              50                343              73               10                      4      -          1,539
          94 Camillus                             674                  100                375                31                109                21               15              39                172              71                    6                  4      -          1,618
       101 Dayton Mall                          9,393                  343                605            116                   320                35               29              48                692              206              17                      4      -         11,808
       107 Huber Heights                        1,255                  143                619                62                178                61               28              39                332              101              12                      4      -          2,832
       115 Beavercreek                          2,496                  232                838            165                   276               168               31             107                559              140              18                      4      -          5,034
       117 Piqua                                  370                  126                 60                29                 94                18               8               40                210              52                    8                  4      -          1,020
                                                                                                                                                                                                                                                                                         Page 54 of 60




       118 Athens                                 518                   52                 49            235                    86                27               10              44                161              37               10                      4      -          1,234
       119 New Philadelphia                       718                   81                289                34                106               198               21              46                380              65                    8                  4           1     1,952
       121 Kettering                              622                  122                423                51                182                24               40              36                358              82                    9                  4      -          1,955
       125 Lancaster                              420                   58                241                29                 83                19               10              41                311              51                    5                  4      -          1,272
       126 Heath                                  990                   82                240                33                103               134               18              39                285              57                    7                  4      -          1,992
       128 Zanesville                             -                     89                111                25                141                17               10              39                284              45                    7                  4      -            771
       129 Marion                               1,014                  138                 28                27                 94                18               12              41                251              35                    6                  4      -          1,667
       130 Chillicothe                            936                  125                189                34                102                22               17              59                426              61                    7                  4      -          1,983
       132 Richmond                               -                    -                  199                38                141                96               15              40                357              53                    7                  4       67        1,017




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The Bon-Ton Stores, Inc.
Exhibit 4.1(c) - Occupancy - Per Diem
Full Company Liquidation Store Closing List
Excludes Distribution Centers


                                                                                                                                 TOTAL - PER DIEM
                                                          Common Area
                                                         Maintenance / LL                                         Building Repair &                                                                                                                                Other
Store #                Store Name         Base Rent     Property Insurance   Real Estate Taxes   Insurance              Maint.        Occupancy Other   Security        Communications   Utilities         Supplies         Equip. Leases       Eqiup. Maint       Taxes       Total

       137 Sandusky                               817                  632                 80                22                142                29               13              36                508              54                    7                  4           2     2,346
       138 Plover                               1,439                  185                320                35                 91                28               12              43                181              71               19                      4       17        2,443
       140 Kohler                               1,430                  231                275                28                 90                22               12              59                212              57               11                      7       21        2,456
       142 West Bend                            1,451                  151                286                31                101                33               19              48                270              72               18                      4       29        2,512
       143 Coldwater                            1,375                   84                156                24                107                18               9               41                204              60                    5                  9       26        2,116
       144 Alliance                             1,261                  136                 52                59                 92                19               15              38                197              54                    6                  4      -          1,934
       147 Wooster                              1,042                  179                262                32                114                21               17              57                227              53                    5                  4      -          2,013
       148 Morgantown                             900                   80                170                31                117                27               9               40                261              58               13                      4      189        1,899
       150 Warsaw                               1,541                  -                  182                42                150                79               12              56                366              83               12                      4       51        2,580
       151 Frankfort                            1,326                   48                162                27                 88                23               14              37                228              62               11                      4       76        2,105
       152 Findlay                                992                   83                122                36                142                18               11              38                278              51                    7                  4      -          1,782
       153 Bowling Green                          505                   84                 13                21                 85                18               8               43                186              46                    8                  4      -          1,022
       154 Howell                               1,430                  199                226                36                129                28               24              53                265              84                    7                  4       18        2,503
       155 Westgate                             1,075                  -                  325                74                367               293               35              46           1,008                 130                   9                  6      -          3,368
       159 Monroe                               1,654                  379                302                38                106               380               24              46                431              69                    6                  4       41        3,482
                                                                                                                                                                                                                                                                                         Case 18-10248-MFW




       161 Midland                                640                   63                510                46                140                29               21              46                316              73                    9                  4       43        1,939
       163 Jackson                                838                  258                247                40                118                20               23              47                390              75                    8                  4       44        2,113
       173 Muscatine                              699                  -                  -                  21                 80                19               13              45                159              40                    5                  4      -          1,085
       175 Mattoon                                524                   76                 14                22                 94                26               9               47                194              34               14                      4      -          1,059
       178 Jasper                               1,167                  136                157                32                108                25               17              47                232              72               10                      4       49        2,056
       179 Terre Haute                            725                  147                249                42                111                23               23              40                356              50                    6                  4       71        1,847
       182 Muncie                                 986                   78                284                40                125                79               17              44                259              56                    7                  4       67        2,045
       184 Kokomo                               1,607                   95                 40                29                111                24               14              48                204              63                    9                  4       29        2,278
       186 Green Bay Furn                         665                  -                  -                  22                 81               591               20              32                126              37                    6                  4           5     1,589
                                                                                                                                                                                                                                                                                         Doc 632-1




       189 Southtown                              443                  -                  417                34                126               623               32             112                311              23                    4                  4      -          2,129
       199 Fort Wayne                           2,338                  171                491                47                166               106               17              46                585              117                   7                  3      158        4,251
       203 Clarksburg                           1,556                  923                410                34                174               272               31              47                412              80                    6                  4      186        4,134
       205 Ashland                                832                   98                 39                26                104                15               10              50                301              50                    7                  4       62        1,598
       206 Kanawha                              1,144                   78                169                35                113                23               26              47                303              66               12                      4      188        2,209
       209 Winfield                             1,747                  -                   94            105                   131                23               16              46                211              87                    7                  4       83        2,554
       310 St Cloud                               100                  -                  188                57                276                31               17              63                386              78               12                      3           0     1,214
       311 Virginia                               908                  251                109                43                129                35               19              48                381              100                   8                  3           1     2,033
       312 Rice Lake                              534                  212                 89                25                137                22               10              45                133              49                    6                  3       17        1,282
       313 Fergus Falls                           491                  -                  -                  23                 93                19               3               43                158              49                    5                  3           1       888
       314 New Ulm                                592                  -                   79                27                159                19               17              44                181              45                    6                  3           1     1,172
                                                                                                                                                                                                                                                                                         Filed 04/18/18




       315 Watertown                              337                  143                 29                52                109                27               14              37                191              43                    7                  3      -            992
       316 Alexandria                             946                  426                293                56                140                23               13              52                192              106              23                      3           1     2,274
       317 Havre                                  472                   66                 19                29                 88                31               7               38                156              36               10                      3       12          967
       318 LaCrosse                             1,085                   93                172                31                200               114               31              51                216              123                   9                  3       25        2,153
       319 Albert Lea                             770                  133                155                26                115                38               6               38                216              53                    8                  3      -          1,559
       320 Moorhead                             1,713                   34                227                67                194                67               19              42                303              123              10                      3           1     2,803
       321 Bismarck                             1,122                  117                243            119                   171                35               16              45                348              108              11                      3      -          2,339
       323 Brainerd                             1,332                   12                245                49                140                26               18              60                312              104                   8                  3           1     2,309
       325 Billings                               765                  368                196                32                182                23               13              61                36               57               22                      4       43        1,801
       326 Ottumwa                                613                  176                 55                24                126                25               7               43                226              59                    6                  3      -          1,362
       327 Great Falls                            -                    -                  169                48                114                21               9               40                227              68                    7                  3       45          751
       328 Rapid City                           1,576                  137                270                56                153                22               14              44                534              76                    9                  3      -          2,894
                                                                                                                                                                                                                                                                                         Page 55 of 60




       329 Rock Springs                         1,330                   76                 81                31                 92                40               46              36                187              52                    5                  3       11        1,991
       330 Dickinson                              375                  108                103                31                109                19               5               42                147              51                    6                  3      -            999
       331 Minot                                  651                   73                289                33                118                19               11              50                175              65                    6                  3      -          1,494
       332 Willmar                              1,496                  261                226                51                178                33               13              66                335              94                    9                  3           1     2,766
       334 Norfolk                              1,116                  281                163                35                126                24               17              39                239              50                    5                  3           5     2,103
       335 Hastings                               469                   52                 21                27                 91                20               8               55                182              43                    7                  3           5       983
       336 North Platte                           598                  294                108                25                 85                18               5               40                145              44                    7                  3           3     1,375
       338 Kearney                              1,138                   77                186                56                190                33               14              51                349              123              32                      3       16        2,268
       339 Scottsbluff                          1,084                  102                 94                36                151                22               18              48                214              70                    8                  3           8     1,857




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The Bon-Ton Stores, Inc.
Exhibit 4.1(c) - Occupancy - Per Diem
Full Company Liquidation Store Closing List
Excludes Distribution Centers


                                                                                                                                    TOTAL - PER DIEM
                                                          Common Area
                                                         Maintenance / LL                                            Building Repair &                                                                                                                                Other
Store #                 Store Name        Base Rent     Property Insurance      Real Estate Taxes   Insurance              Maint.        Occupancy Other   Security        Communications   Utilities         Supplies         Equip. Leases       Eqiup. Maint       Taxes       Total

       340 Kalispell                            1,177                  151                    31                64                122                43               20              44                173              84                    7                  3       19        1,937
       341 Blaine                               1,515                  183                   250                76                315                75               22              47                493              155              14                      4           1     3,148
       342 Stillwater                           1,941                  -                     508                86                267                47               23              46                436              137              54                      3           1     3,549
       343 Aberdeen                               990                  167                   117                80                107                28               9               43                225              83                    7                  3      -          1,861
       344 Grand Junction                       1,117                  134                   211                51                129                26               21              46                286              122              14                      3       38        2,199
       345 Mankato                              1,004                  119                   313                48                146                28               27              47                256              94               14                      3           1     2,101
       348 Bemidji                                722                   79                    96                35                122                24               10              48                202              59                    8                  3           1     1,410
       349 Butte                                  808                  100                   134                55                102                26               13              43                203              68                    5                  3       15        1,576
       351 Missoula                             1,000                  221                   333                25                166                30               12              39                236              49               12                      3       20        2,148
       352 Fargo                                1,698                  952                   247                78                262                87               31              58                707              153              10                      4      -          4,286
       353 Rosedale                             1,795                1,023                   708            112                   375               136               36              51                722              219              28                      3      -          5,207
       354 Midway                                 -                    355                   908                56                219                39               38              44                507              99                    9                  3           0     2,278
       355 Southtown                            2,298                1,038                 1,707                83                312               104               17              62                552              202              19                      3           2     6,399
       356 Edina                                2,514                  152                   613                62                324                33               22              39                791              129                   9                  3           1     4,692
       357 Rochester                            1,018                      1                 -                  66                131                44               27              53                709              106              34                      3           1     2,192
                                                                                                                                                                                                                                                                                            Case 18-10248-MFW




       401 Ames                                   254                   84                   211                24                102                34               8               50                167              62               10                      3      -          1,007
       402 Mason City                             708                  196                    23                31                144                31               19              70                266              64                    6                  3      -          1,560
       403 Fort Dodge                             600                   54                    20                27                108                41               12              72                170              76               10                      3      -          1,195
       404 Marshalltown                           373                   60                    17                41                 99                21               8               60                195              58                    6                  3      -            940
       406 Oak View                             1,926                  192                   476                81                199                36               16              79                650              198              11                      4       22        3,890
       408 Waterloo                               646                      36                122                35                174                21               14              44                292              84                    8                  4           5     1,483
       409 Austin                                 255                   45                   -                  24                116                17               9               45                389              43                    6                  3           1       953
       410 Merle Hay                              -                    231                   496                62                252               329               19              53                266              111                   7                  3      -          1,828
       412 Coralville                             -                    142                   604                59                361                44               17              49                275              141                   8                  3      -          1,704
                                                                                                                                                                                                                                                                                            Doc 632-1




       413 Lindale Plaza                          868                  182                   732                53                228                37               19              44                416              131                   8                  3      -          2,722
       414 Jordan Creek                         2,117                  192                   760                98                290                75               32              50                516              169              16                      3      -          4,318
       418 Dubuque                                721                  242                   319                54                161               195               46              57                525              116                   8                  3      -          2,447
       419 Westroads                              118                1,064                   520            129                   330                56               45              77                689              263              18                      3       45        3,356
       421 Davenport                              669                  263                   292                35                152               121               17              45                270              77                    7                  4           7     1,960
       422 Moline                               1,188                   56                   264                92                199               174               23              52                315              82                    8                  3           2     2,457
       423 Southridge                             539                  -                     -                  30                148               132               14              48                367              64                    7                  3      -          1,352
       424 Sioux Falls                          1,223                  295                   325                94                241               144               13              44                469              160              12                      3      -          3,022
       429 Southern Hills                       1,012                  270                   667            114                   241                63               23              51                284              113              10                      3      -          2,853
       430 West Burlington                        779                  168                   101                27                 97                42               26              65                300              56               10                      3      -          1,674
       432 Eau Claire                             -                    187                   396                53                173               309               21              52                372              94               10                      3       38        1,707
                                                                                                                                                                                                                                                                                            Filed 04/18/18




       437 Valley West                            981                  193                 1,512            410                   364               151               26              74                519              278              27                  12         -          4,546
       438 Muskegon                               -                    196                   305                69                124                27               20              32                550              154              27                      3       49        1,558
       439 Sturgeon Bay                           452                  -                     102                29                148               197               19             146                184              43                    6                  3       13        1,343
       440 Grandville                             -                    275                   589                95                249                44               40              62                775              185              28                      3       85        2,431
       443 Traverse City                          524                  116                   -                  35                 86                21               10              48                385              49               10                      3       14        1,301
       445 Lansing                              1,555                  176                   286                52                168               224               8               48                473              89                    8                  3       73        3,163
       447 Lincoln                                930                  210                   277                59                255                32               31              57                377              110                   9                  3       11        2,362
       448 Marshfield                             308                   16                   -                  21                 83                50               13              58                171              88                    6                  3       14          830
       449 Duluth                                 -                    124                   600            203                   311                51               20              51                767              278              11                      3           1     2,421
       451 Grand Island                           467                   59                    85                29                106                30               8               42                217              69                    6                  3           8     1,129
       457 Bay Park                             2,556                   78                   717                92                198               166               31              72                406              135              13                      4       51        4,521
       463 Holland                                399                  152                    49                44                 91                52               10              47                254              79                    8                  3       31        1,219
                                                                                                                                                                                                                                                                                            Page 56 of 60




       464 Okemos                               4,083                  293                   943                74                238               329               29              42                826              172                   9                  3       82        7,120
       465 Port Huron                             791                  -                     -                  30                 96                40               15              51                308              68                    8                  4       25        1,438
       475 Bay City                             1,836                  170                   101                57                136               390               23              50                481              138                   8                  3       20        3,414
       501 Bloomington                            287                  885                   377                65                264               122               25              63                412              147              11                      3      -          2,661
       502 LaSalle Peru                           616                   86                    95                59                157               136               24              53                378              80                    9                  3      -          1,695
       503 Pekin                                  384                  115                   144                37                139                19               33              49                241              73                    8                  3      -          1,244
       504 Champaign                            1,351                  546                   143                66                208               140               26              73                699              146              11                      3      -          3,410
       505 Galesburg                              493                   95                    49                34                117                24               27              58                311              47                    6                  3      -          1,262
       507 Quincy                                 112                  226                   232                63                150                92               41             123                365              91               11                      4      -          1,511




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The Bon-Ton Stores, Inc.
Exhibit 4.1(c) - Occupancy - Per Diem
Full Company Liquidation Store Closing List
Excludes Distribution Centers


                                                                                                                                     TOTAL - PER DIEM
                                                             Common Area
                                                            Maintenance / LL                                          Building Repair &                                                                                                                                   Other
Store #                 Store Name        Base Rent        Property Insurance   Real Estate Taxes    Insurance              Maint.        Occupancy Other   Security         Communications     Utilities         Supplies         Equip. Leases       Eqiup. Maint       Taxes       Total

       508 Forsyth                                    92                  280                251                 42                185               112               24               58                  298              74                    7                  3      -          1,427
       510 Janesville                             573                      75                284                 80                157                36               18              106                  315              97               10                      4       22        1,778
       511 Sterling                               837                     168                 10                 27                107                21               17              116                  206              63                    7                  3      -          1,582
       512 Cherryvale                           1,060                     180                490                 89                206                46               65               46                  483              153              11                      3      -          2,833
       515 Joliet                               1,895                     108                229                 71                185                96               29              113                  589              153              12                      4           6     3,487
       516 Spring Hill                            -                       207                325                 68                178                32               21              135                  416              127              11                      4           0     1,523
       517 Randhurst                            1,385                     352              2,216             119                   312                99               41               68                  511              288              28                      3           2     5,423
       518 White Oaks                             324                      41                390                 65                210               138               23               59                  673              123              11                      3      -          2,059
       519 Milwaukee Grand Ave                        18                  128                276                 28                294               104               185              73                  988              99                    6                  3           0     2,204
       520 Bayshore                             1,230                     182                571             113                   477                65               38               76                  843              245              38                      4      165        4,045
       521 Racine                                     1                   178                494                 61                256                32               14               99                  501              134              11                      4       71        1,855
       522 Brookfield                           4,254                      24                847             209                   550               122               25               50             1,447                 346              49                      5      151        8,078
       523 Southridge                           3,575                     682                901             113                   451               234               33               87                  927              222              23                      4      195        7,446
       526 East Towne                           1,526                     194                321                 78                165               204               20               63                  630              144              10                      3       63        3,422
       527 Mayfair                              3,897                     241              1,335             142                   571               225               77               87             1,286                 306              50                      3      243        8,463
                                                                                                                                                                                                                                                                                                Case 18-10248-MFW




       528 West Towne                           3,016                     195                420             105                   281                96               21               73                  558              212              34                      4      103        5,119
       529 Brookfield Furniture                 2,334                     -                  270                 43                157             1,223                8               65                  171              41               10                      3           8     4,333
       530 Evergreen                            2,395                      93                 92             106                   356               122               44              119                  635              204              34                      4           2     4,206
       531 Yorktown                             2,358                     519                755             175                   561               123               48              147                  736              365              20                      4      -          5,810
       532 Woodmar                                629                     258                    1               53                299                64               20              108                  399              147              10                      3       94        2,084
       533 Edens Plaza                            -                       615              1,729                 92                273                58               33               97                  590              290              22                      3           1     3,802
       535 Stratford Square                     1,347                     369                342                 69                237                95               33               69                  381              135              11                      3           7     3,099
       538 Chicago Ridge                        2,233                      86              2,236             126                   331                52               44               82                  616              293              28                      3           8     6,140
       539 Harlem Irving                        2,308                   2,678              1,211             232                   435                84               69               64                  698              320              32                      3       13        8,148
                                                                                                                                                                                                                                                                                                Doc 632-1




       541 North Riverside                      1,447                     505              1,372             112                   692               205               58               68                  679              208              15                      5           5     5,372
       542 Southlake                            1,068                     194                624                 93                266                51               29               58                  783              207              11                      4      111        3,498
       543 Orland Square                        1,603                      68              1,960             170                   356                73               40               82                  650              448              51                      3           2     5,506
       546 Yorktown Furniture                   1,542                     205                505                 35                 74               996               18               72                  119              29                    5                  3      -          3,602
       547 Edens Furniture                      2,007                      59                911                 29                 81               915               18               53                  106              34                    5                  3           1     4,221
       548 Schaumburg Furniture                 1,663                     158              1,011                 36                 87               807               23               49                  118              32                    5                  3           1     3,994
       549 Michigan City                              53                  170                -                   44                127                21               19               74                  366              80                    7                  3          61     1,026
       550 Hawthorn                               450                     378                207                 64                212                41               39               91                  583              146                   8                  3           2     2,223
       551 Ford City                              539                     218                686                 82                204               185               64               60             1,404                 203              11                      3      -          3,658
       552 Lincolnwood                          2,696                     -                2,025                 90                281                61               40               62                  823              207              18                      3           2     6,309
       553 Bradley                              2,311                      63                430                 63                161               147               67               67                  431              120              10                      3           2     3,873
                                                                                                                                                                                                                                                                                                Filed 04/18/18




       554 St Charles                           1,176                     -                  -                   49                194               119               43               67                  740              130              10                      3      -          2,532
       555 Hawthorn Furniture Gallery           1,563                     175                -               -                      72               462               11               -                   -                -                -                       3      -          2,287
       556 Fox Valley                             660                     387                349             163                   436                29               35               66                  676              125                   8                  4      -          2,938
       561 Orland Park Furniture                2,186                      72                -                   57                 81             1,267               15               52                  155              36                    4                  4           1     3,929
       563 Grand Prairie                        2,588                     257                835             122                   276                33               29               66                  503              232              15                      4           0     4,961
       571 Laurel Park                          4,792                     -                  543             135                   402                67               42              123             1,005                 360              16                      4      108        7,597
       572 Rochester Hills                            13                  219                390             103                   357                38               31               56                  651              230              19                      4       97        2,209
       573 Partridge Creek                      2,237                     179                421             157                   196                33               16               43                  697              200              10                      4       53        4,247
       579 Naperville Frn Clear.                  242                     -                   62                 11                 86               259                9                   1               619              39                    1                  1      -          1,331
       212                 Total              230,444                  39,426             73,743          12,953               39,000             22,497          4,725              11,540           82,672           22,322              2,419                 779       4,513      547,032
                                                                                                                                                                                                                                                                                                Page 57 of 60




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$      7KH6DOHVKDOOEHFRQGXFWHGVRWKDWWKH6WRUHVLQZKLFKVDOHVDUHWRRFFXUZLOOUHPDLQRSHQQR
ORQJHUWKDQGXULQJWKHQRUPDOKRXUVRIRSHUDWLRQSURYLGHGIRULQWKHUHVSHFWLYHOHDVHVIRUWKH6WRUHV

%     7KH6DOHVKDOOEHFRQGXFWHGLQDFFRUGDQFHZLWKDSSOLFDEOHVWDWHDQGORFDO³%OXH/DZV´ZKHUH
DSSOLFDEOHVRWKDWQR6DOHVKDOOEHFRQGXFWHGRQ6XQGD\XQOHVVWKH0HUFKDQWKDGEHHQRSHUDWLQJVXFK
6WRUHRQD6XQGD\

&       2Q ³VKRSSLQJ FHQWHU´ SURSHUW\ $JHQW VKDOO QRW GLVWULEXWH KDQGELOOV OHDIOHWV RU RWKHU ZULWWHQ
PDWHULDOVWRFXVWRPHUVRXWVLGHRIDQ\6WRUHV¶SUHPLVHVXQOHVVSHUPLWWHGE\WKHOHDVHRULIGLVWULEXWLRQ
LVFXVWRPDU\LQWKH³VKRSSLQJFHQWHU´LQZKLFKVXFK6WRUHLVORFDWHGSURYLGHGWKDW$JHQWPD\VROLFLW
FXVWRPHUVLQWKH6WRUHVWKHPVHOYHV2Q³VKRSSLQJFHQWHU´SURSHUW\$JHQWVKDOOQRWXVHDQ\IODVKLQJ
OLJKWV RU DPSOLILHG VRXQG WR DGYHUWLVH WKH 6DOH RU VROLFLW FXVWRPHUV H[FHSW DV SHUPLWWHG XQGHU WKH
DSSOLFDEOHOHDVHRUDJUHHGWRE\WKHODQGORUG

'      $W WKH FRQFOXVLRQ RI WKH 6DOH RU WKH 'HVLJQDWLRQ 5LJKWV 3HULRG DV DSSOLFDEOH $JHQW VKDOO
YDFDWHWKH6WRUHVLQEURRPFOHDQFRQGLWLRQSURYLGHGWKDW$JHQWPD\DEDQGRQDQ\))	(QRWVROGLQ
WKH6DOHDWWKH6WRUHVWKH'LVWULEXWLRQ&HQWHUVWKH+HDGTXDUWHUVRU0HUFKDQW¶VRWKHUFRUSRUDWHRIILFHV
DWWKHFRQFOXVLRQRIWKH6DOHRUWKH'HVLJQDWLRQ5LJKWV3HULRGDVDSSOLFDEOHZLWKRXWFRVWRUOLDELOLW\RI
DQ\NLQGWR$JHQW$Q\DEDQGRQHG))	(OHIWLQD6WRUHRU'LVWULEXWLRQ&HQWHUWKH+HDGTXDUWHUVRU
0HUFKDQW¶VRWKHUFRUSRUDWHRIILFHVDIWHUDOHDVHLVUHMHFWHGVKDOOEHGHHPHGDEDQGRQHGWRWKHODQGORUG
KDYLQJDULJKWWRGLVSRVHRIWKHVDPHDVWKHODQGORUGFKRRVHVZLWKRXWDQ\OLDELOLW\ZKDWVRHYHURQWKH
SDUWRIWKHODQGORUGWRDQ\SDUW\DQGZLWKRXWZDLYHURIDQ\GDPDJHFODLPVDJDLQVWWKH0HUFKDQW)RU
WKH DYRLGDQFH RI GRXEW DV RI WKH 6DOH 7HUPLQDWLRQ 'DWH RU WHUPLQDWLRQ RI WKH 'HVLJQDWLRQ 5LJKWV
3HULRGDVDSSOLFDEOH$JHQWPD\DEDQGRQLQSODFHDQGZLWKRXWIXUWKHUUHVSRQVLELOLW\RUOLDELOLW\RIDQ\
NLQG DQ\ ))	( ORFDWHG DW D 6WRUH RU 'LVWULEXWLRQ &HQWHU WKH +HDGTXDUWHUV RU 0HUFKDQW¶V RWKHU
FRUSRUDWHRIILFHV

(      )ROORZLQJDQGVXEMHFWWRWKHHQWU\RIWKH$SSURYDO2UGHU$JHQWPD\DGYHUWLVHWKH6DOHDVD
³VWRUHFORVLQJ´³VDOHRQHYHU\WKLQJ´³HYHU\WKLQJPXVWJR´RUVLPLODUWKHPHGVDOHDVGLFWDWHGE\WKH
$SSURYDO2UGHU

)       $JHQW VKDOO EH SHUPLWWHG WR XWLOL]H GLVSOD\ KDQJLQJ VLJQV DQG LQWHULRU EDQQHUV LQ FRQQHFWLRQ
ZLWK WKH 6DOH SURYLGHG KRZHYHU WKDW VXFK GLVSOD\ KDQJLQJ VLJQV DQG LQWHULRU EDQQHUV VKDOO EH
SURIHVVLRQDOO\ SURGXFHG DQG KXQJ LQ D SURIHVVLRQDO PDQQHU 7KH 0HUFKDQW DQG $JHQW VKDOO QRW XVH
QHRQ RU GD\JOR RQ LWV GLVSOD\ KDQJLQJ VLJQV RU LQWHULRU EDQQHUV  )XUWKHUPRUH ZLWK UHVSHFW WR
HQFORVHG PDOO ORFDWLRQV QR H[WHULRU VLJQV RU VLJQV LQ FRPPRQ DUHDV RI D PDOO VKDOO EH XVHG XQOHVV
RWKHUZLVHH[SUHVVO\SHUPLWWHGLQWKHVH6DOH*XLGHOLQHV,QDGGLWLRQWKH0HUFKDQWDQG$JHQWVKDOOEH
SHUPLWWHGWRXWLOL]HH[WHULRUEDQQHUVDWLQRQHQFORVHGPDOO6WRUHVDQGLLHQFORVHGPDOO6WRUHVWRWKH
H[WHQWWKHHQWUDQFHWRWKHDSSOLFDEOH6WRUHGRHVQRWUHTXLUHHQWU\LQWRWKHHQFORVHGPDOOFRPPRQDUHD
SURYLGHGKRZHYHUWKDWVXFKEDQQHUVVKDOOEHORFDWHGRUKXQJVRDVWRPDNHFOHDUWKDWWKH6DOHLVEHLQJ
FRQGXFWHGRQO\DWWKHDIIHFWHG6WRUHVKDOOQRWEHZLGHUWKDQWKHVWRUHIURQWRIWKH6WRUHDQGVKDOOQRWEH
ODUJHU WKDQ  IHHW [  IHHW  ,Q DGGLWLRQ WKH 0HUFKDQW DQG $JHQW VKDOO EH SHUPLWWHG WR XWLOL]H VLJQ
ZDONHUV LQ D VDIH DQG SURIHVVLRQDO PDQQHU DQG LQ DFFRUGDQFH ZLWK WKH WHUPV RI WKH $SSURYDO 2UGHU
1RWKLQJ FRQWDLQHG LQ WKHVH 6DOH *XLGHOLQHV VKDOO EH FRQVWUXHG WR FUHDWH RU LPSRVH XSRQ $JHQW DQ\
DGGLWLRQDOUHVWULFWLRQVQRWFRQWDLQHGLQWKHDSSOLFDEOHOHDVHDJUHHPHQW

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)    &RQVSLFXRXV VLJQV VKDOO EH SRVWHG LQ WKH FDVK UHJLVWHU DUHDV RI HDFK RI WKH DIIHFWHG 6WRUHV WR
HIIHFWWKDW³DOOVDOHVDUHILQDO´

*    ([FHSWZLWKUHVSHFWWRWKHKDQJLQJRIH[WHULRUEDQQHUV$JHQWVKDOOQRWPDNHDQ\DOWHUDWLRQVWR
WKHVWRUHIURQWRUH[WHULRUZDOOVRIDQ\6WRUHV

+    $JHQWVKDOOQRWPDNHDQ\DOWHUDWLRQVWRLQWHULRURUH[WHULRU6WRUHOLJKWLQJ1R SURSHUW\ RIWKH
ODQGORUG RID 6WRUH VKDOO EHUHPRYHG RUVROGGXULQJWKH6DOH7KH KDQJLQJ RI H[WHULRU EDQQHUVRU LQ
6WRUHVLJQDJHDQGEDQQHUVVKDOOQRWFRQVWLWXWHDQDOWHUDWLRQWRD6WRUH

,   $JHQW VKDOO NHHS 6WRUH SUHPLVHV DQG VXUURXQGLQJ DUHDV FOHDU DQG RUGHUO\ FRQVLVWHQW ZLWK
SUHVHQWSUDFWLFHV

-     6XEMHFWWRWKHSURYLVLRQVRIWKH$JUHHPHQW$JHQWVKDOOKDYHWKHULJKWWRVHOODOO2ZQHG))	(
DW WKH &ORVLQJ 6WRUHV DQG WKH 'LVWULEXWLRQ &HQWHUV WKH +HDGTXDUWHUV DQG VXEMHFW WR DQ\ VLGH OHWWHU
EHWZHHQ -9 $JHQW DQG 3XUFKDVHU ZKLFK VKDOO QRW LQ DQ\ ZD\ DIIHFW 0HUFKDQW¶V ULJKWV XQGHU WKH
$JUHHPHQW DQG 3XUFKDVHU VKDOO KDYH WKH ULJKW WR VHOO DOO 2ZQHG ))	( DW WKH 'HVLJQDWLRQ 5LJKWV
6WRUHVDQGWKH1HEUDVND'LVWULEXWLRQ&HQWHU-9$JHQWPD\DGYHUWLVHWKHVDOHRIWKH2ZQHG))	(LQ
DPDQQHUFRQVLVWHQWZLWKWKHVHJXLGHOLQHVDWWKH&ORVLQJ6WRUHVDQGWKH,QGLDQD'LVWULEXWLRQ&HQWHUDQG
3XUFKDVHUPD\DGYHUWLVHWKHVDOHRIWKH2ZQHG))	(LQDPDQQHUFRQVLVWHQWZLWKWKHVHJXLGHOLQHVDW
WKH 'HVLJQDWLRQ 5LJKWV 6WRUHV DQG WKH 1HEUDVND 'LVWULEXWLRQ &HQWHU  7KH SXUFKDVHUV RI DQ\ 2ZQHG
))	( VROG GXULQJ WKH VDOH VKDOO EH SHUPLWWHG WR UHPRYH WKH 2ZQHG ))	( HLWKHU WKURXJK WKH EDFN
VKLSSLQJDUHDVDWDQ\WLPHRUWKURXJKRWKHUDUHDVDIWHUDSSOLFDEOHEXVLQHVVKRXUV)RUWKHDYRLGDQFHRI
GRXEW DV RI WKH 6DOH 7HUPLQDWLRQ 'DWH RU WKH WHUPLQDWLRQ RI WKH 'HVLJQDWLRQ 5LJKWV 3HULRG DV
DSSOLFDEOH$JHQWPD\DEDQGRQLQSODFHDQGZLWKRXWIXUWKHUUHVSRQVLELOLW\DQ\))	(DWWKH6WRUHV
WKH'LVWULEXWLRQ&HQWHUVWKH+HDGTXDUWHUVDQG0HUFKDQW¶VRWKHUFRUSRUDWHRIILFHV

.     $JHQWVKDOOEHHQWLWOHGWRLQFOXGH$GGLWLRQDO$JHQW0HUFKDQGLVHLQWKH6DOHLQDFFRUGDQFHZLWK
WKHWHUPVRIWKH$SSURYDO2UGHUDQGWKH$JUHHPHQW

/    $W WKH FRQFOXVLRQ RI WKH 6DOH DW HDFK 6WRUH SHQGLQJ DVVXPSWLRQ RU UHMHFWLRQ RI DSSOLFDEOH
OHDVHVWKHODQGORUGVRIWKH6WRUHVVKDOOKDYHUHDVRQDEOHDFFHVVWRWKH6WRUHV¶SUHPLVHVDVVHWIRUWKLQ
WKHDSSOLFDEOHOHDVHV7KH0HUFKDQW$JHQWDQGWKHLUDJHQWVDQGUHSUHVHQWDWLYHVVKDOOFRQWLQXHWRKDYH
DFFHVVWRWKH6WRUHVDVSURYLGHGIRULQWKH$JUHHPHQW

0 3RVWSHWLWLRQUHQWVVKDOOEHSDLGE\WKH0HUFKDQWDVUHTXLUHGE\WKH%DQNUXSWF\&RGHXQWLOWKH
UHMHFWLRQ RU DVVXPSWLRQ DQG DVVLJQPHQW RI HDFK OHDVH  $JHQW VKDOO KDYH QR UHVSRQVLELOLW\ WR WKH
ODQGORUGVWKHUHIRU

1 7KH ULJKWV RI ODQGORUGV DJDLQVW 0HUFKDQW IRU DQ\ GDPDJHV WR D 6WRUH VKDOO EH UHVHUYHG LQ
DFFRUGDQFHZLWKWKHSURYLVLRQVRIWKHDSSOLFDEOHOHDVH

2 ,I DQG WR WKH H[WHQW WKDW WKH ODQGORUG RI DQ\ 6WRUH DIIHFWHG KHUHE\ FRQWHQGV WKDW $JHQW RU
0HUFKDQWLVLQEUHDFKRIRUGHIDXOWXQGHUWKHVH6DOH*XLGHOLQHVVXFKODQGORUGVKDOOHPDLORUGHOLYHU
ZULWWHQQRWLFHE\RYHUQLJKWGHOLYHU\RQWKH0HUFKDQW-9$JHQWDQG3XUFKDVHUDVIROORZV

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